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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION

------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
                               1
HO WAN KWOK, et al.,                                  :   Case No. 22-50073 (JAM)
                                                      :
                  Debtors.                            :   (Jointly Administered)
                                                      :
------------------------------------------------------x
                                                      :
In re:                                                :   Chapter 11
                                                      :
GENEVER HOLDINGS LLC,                                 :   Case No. 22-50592 (JAM)
                                                      :
                  Debtor.                             :
                                                      :
------------------------------------------------------x

 SUPPLEMENTAL MOTION OF CHAPTER 11 TRUSTEE, GENEVER HOLDINGS
CORPORATION, AND GENEVER HOLDINGS LLC FOR OF AN ORDER (I) SETTING
BAR DATES FOR FILING PROOFS OF CLAIM; (II) APROVING FORM OF NOTICE
         OF BAR DATES; AND (III) GRANTING RELATED RELIEF

        Luc Despins, in his capacity as the chapter 11 trustee (the “Trustee”) appointed in the

chapter 11 case of Ho Wan Kwok (the “Individual Debtor”), Genever Holdings Corporation

(“Genever (BVI)”), and Genever Holdings LLC (“Genever (US)” and, together with the Trustee,

and Genever (BVI), the “Movants”) submit this supplemental motion (the “Supplemental

Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A (the

“Proposed Order”), pursuant to section 502(b)(9) of title 11 of the United States Code (the

“Bankruptcy Code”) and Rule 3003(c)(3) of the Federal Rules of Bankruptcy Procedure (the



1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595) and Genever
    Holdings Corporation. The mailing address for the Trustee and the Genever (BVI) Debtor is Paul Hastings LLP,
    200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely
    for purposes of notices and communications).
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“Bankruptcy Rules”), (a) setting the bar dates for filing proofs of claim in the chapter 11 cases of

the Individual Debtor, Genever (BVI), and Genever (US) (collectively, the “Debtors” and their

chapter 11 cases, the “Chapter 11 Cases”), (b) approving the form of notice of bar dates, and (c)

granting related relief. In support of the Supplemental Motion, the Movants respectfully states as

follows:

                                    PRELIMINARY STATEMENT

        1.       Through this Supplemental Motion, the Movants respectfully request entry of an

order establishing the bar dates to file proofs of claim in the chapter 11 cases of the Individual

Debtor, Genever (BVI), and Genever (US) as well as granting certain related relief. In

particular, the Movants request that the Court approve a general claims bar date of January 13,

2023 at 11:59 p.m. (prevailing Eastern Time) for all persons or entities (including

governmental units) asserting claims against any of the Debtors, except that the bar date for

governmental units to assert claims against Genever (BVI) shall be set for April 10, 2023 at

11:59 p.m. (prevailing Eastern Time).2

        2.       As the Trustee previously explained at the August 1, 2022 status conference, the

Trustee deferred seeking entry of a bar date order in the Individual Debtor’s chapter 11 case until

after venue of Genever (US)’s chapter 11 case was transferred from the Southern District of New

York to this Court, so that a single bar date could be established for chapter 11 cases of the

Individual Debtor and Genever (US).3 In particular, a new bar date should be established in




2
    As explained below, a separate governmental bar date is necessary for claims against Genever (BVI) because a
    governmental bar date may not be set earlier than 180 days after the petition date, and Genever (BVI) only
    commenced its chapter 11 case on October 11, 2022. For the avoidance of doubt, all governmental units must
    file their claims against the Individual Debtor and/or Genever (US) by January 13, 2023 at 11:59 p.m.
    (prevailing Eastern Time).
3
    As the Court is well aware, prior to the appointment of the Trustee, the Individual Debtor wholly owned
    Genever (BVI), which, in turn, wholly owns Genever (US).
                                                        2
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Genever (US)’s case because only a few direct creditors of Genever (US), but not creditors of the

Individual Debtor, received notice of the bar date previously established in Genever (US)’s

chapter 11 case. Importantly, creditors of the Individual Debtor should be given the opportunity

to assert claims against the Genever entities, including on the basis that these entities are or were

alter egos of the Individual Debtor. In fact, one of the Individual Debtor’s largest creditors,

Pacific Alliance Asia Opportunity Fund L.P. (“PAX”), which was among the creditors that was

notified of the prior bar date in Genever (US)’s case, did just that. Absent re-setting the bar date

in Genever (US)’s case, creditors of the Individual Debtor would effectively be structurally

subordinated to the claims of the handful of creditors that did file proofs of claims in Genever

(US)’s case because they would be limited to the equity value, if any, that remains at Genever

(US) after satisfying the claims (to the extent allowed) of the few creditors that did file proofs of

claim in Genever (US)’s case. All creditors of the Individual Debtor should be given the

opportunity to assert claims against Genever (US).4

        3.       For these reasons, the Movants propose to modify the proof of claim form so as to

allow holders of claims against the Individual Debtor to elect to also assert their claim against

Genever (BVI) and Genever (US) on the basis that Genever (BVI) and Genever (US) are or were

alter egos of the Individual Debtor. To be clear, the Trustee, Genever (BVI), and Genever (US)

reserve all their rights to object to any such claims, including on the basis that the Trustee is the

only party entitled to assert that Genever (BVI) and Genever (US) are or were alter egos of the

Individual Debtor. For the avoidance of doubt, any creditor of the Individual Debtor that has a

separate claim against Genever (BVI) and/or Genever (US) (i.e., in addition to a claim based on




4
    Of course, entities that previously filed a proof of claim in Genever (US)’s chapter 11 case will not be required
    to file a new proof of claim.
                                                          3
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alter ego) must file a separate Proof of Claim against Genever (BVI) and/or Genever (US), as

applicable.

         4.       Now that Genever (US)’s chapter 11 case has been transferred to this Court, the

Movants request entry of the Proposed Order (a) setting the bar dates for filing proofs of claim in

the Chapter 11 Cases, (b) approving the form of notice of bar dates, and (c) granting related

relief. A blackline of the Proposed Order (including exhibits) marked to show changes against

the proposed order filed by the Trustee on July 28, 2022 is attached hereto as Exhibit B.5

                                      JURISDICTION AND VENUE

         5.       The United States Bankruptcy Court for the District of Connecticut (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order

of Reference from the United States District Court for the District of Connecticut (as amended).

This matter is a core proceeding under 28 U.S.C. § 157(b).

         6.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         7.       The bases for the relief requested herein are section 502(b)(9) of title 11 of the

Bankruptcy Code and Bankruptcy Rule 3003(c).

                                               BACKGROUND

I.       The Individual Debtor’s Chapter 11 Case

         8.       On February 15, 2022 (the “Individual Debtor Petition Date”), the Debtor filed

with the Court a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

         9.       On March 21, 2022, the United States Trustee appointed an Official Committee of

Unsecured Creditors (“Committee”) in the Individual Debtor’s chapter 11 case. No examiner

has been appointed in the Individual Debtor’s chapter 11 case.



5
     With respect to Annex II to the Proposed Order, the changes to the Claim Form have been highlighted in yellow.
                                                         4
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          10.      On March 30, 2022, the Individual Debtor filed a bar date motion [Docket No.

146] (the “Original Bar Date Motion”).6 The Court did not rule on the Original Bar Date

Motion.

          11.      On June 15, 2022, the Court entered a memorandum of decision and order (ECF

No. 465) (the “Trustee Order”) directing the United States Trustee to appoint a chapter 11 trustee

in the Individual Debtor’s chapter 11 case. Pursuant to the Trustee Order, the United States

Trustee selected Luc A. Despins as the Trustee.

          12.      On July 8, 2022, the Court entered an order granting the appointment of Luc A.

Despins as the Trustee in the Individual Debtor’s chapter 11 case [Docket No. 523] (the

“Appointment Order”).

          13.      On July 28, 2022, the Trustee filed a revised proposed bar date order proposing a

October 28, 2022 general bar date for proofs of claim filed in the Debtor’s case. As discussed at

the August 1, 2022 status conference, despite having filed the proposed bar date order, the

Trustee requested the Court adjourn consideration of the bar date order until such time as

Genever US’s chapter 11 case has been transferred to this Court so that a single bar date could be

set in both the Individual Debtor’s chapter 11 case and Genever (US)’s chapter 11 case.

II.       Genever (US)’s Chapter 11 Case

          14.      On October 12, 2020 (the “Genever (US) Petition Date”), Genever (US) filed its

chapter 11 petition in the United States Bankruptcy Court for the Southern District of New York

(the “New York Bankruptcy Court”).

          15.      No trustee or official committee of unsecured creditors has been appointed in

Genever (US)’s chapter 11 case.


6
      On April 26, 2022, the Individual Debtor filed an amended proposed bar date order [Docket No. 262] with
      minor changes to the proposed bar date order attached to the Original Bar Date Motion.
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           16.      Genever (US)’s only scheduled assets are the Residence at the Sherry Netherland

Hotel (the “Sherry Netherland Apartment”) in New York, New York, and a related security

deposit for a total scheduled value of approximately $73 million.

           17.      By order dated January 30, 2021 [Docket No. 46 in Case No. 20-12411 (JLG)],

the New York Bankruptcy Court set the general bar date to file proofs of claim against Genever

(US) for March 10, 2021. At the time, the bar date notice was only served on the handful of

direct creditors of Genever US as well as certain government entities, but it was not served on

any creditors of the Individual Debtor (other than PAX).7

           18.      On September 30, 2022, the Trustee and Genever (US) file their joint motion to

transfer venue of Genever (US)’s chapter 11 case to this Court [Docket No. 211 in Case No. 20-

12411 (JLG)] (the “Venue Transfer Motion”).

           19.      By order dated November 3, 2022, the New York Bankruptcy Court granted the

Venue Transfer Motion.

           20.      Concurrently with the filing of this Supplemental Motion, the Movants have filed

a motion requesting that Genever (US)’s chapter 11 case be jointly administered with the chapter

11 cases of the Individual Debtor and Genever (BVI).

III.       Genever (BVI)’s Chapter 11 Case

           21.      On October 11, 2022 (the “Genever (BVI) Petition Date” and, together with the

Genever (US) Petition Date and the Individual Debtor Petition Date, the “Petition Dates”),

Genever (BVI) filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code in

this Court.


7
       See Declaration of Service, dated February 4, 2021, In re Genever Holdings LLC, Case No. 20-12411 (JLG)
       (Bankr. S.D.N.Y.) [Docket No. 48]. Only five creditors have filed proofs of claim in Genever (US)’s chapter
       11 case: Sherry-Netherland, Inc., PAX, Bravo Luck Limited (“Bravo Luck”), Golden Spring (New York) Ltd.,
       and the Debtor’s son, i.e., Qiang Guo.
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        22.      No trustee or official committee of unsecured creditors has been appointed in

Genever (BVI)’s chapter 11 case.

        23.      October 14, 2022, the Court entered an order granting joint administration of the

Individual Debtor’s chapter 11 case and Genever (BVI)’s chapter 11 case [Docket No. 970].

                                          RELIEF REQUESTED

        24.      The Movants respectfully request entry of an order, substantially in the form

attached hereto as Exhibit A (the “Proposed Order”), granting the following relief:

        a.       Establishing the following bar dates for the filing of proofs of claim (each, a
                 “Proof of Claim”) in the chapter 11 cases of the Individual Debtor, Genever
                 (BVI), and Genever (US):

                      i. For all entities (including governmental units) asserting claims against the
                         Individual Debtor and/or Genever (US), January 13, 2023 at 11:59 p.m.
                         (prevailing Eastern Time) (the “General Bar Date”);8

                     ii. For all entities (other than governmental units) asserting claims against
                         Genever (BVI), January 13, 2023 at 11:59 p.m. (prevailing Eastern
                         Time), i.e., General Bar Date; and

                    iii. For governmental units asserting claims against Genever (BVI), April 10,
                         2023 at 11:59 p.m. (prevailing Eastern Time) (the
                         “Governmental/Genever (BVI) Bar Date” and, together with the General
                         Bar Date, the “Bar Dates”);9

        b.       Approving procedures for filing Proofs of Claim;

        c.       Approving the proposed Bar Date Notice (as defined below) and related
                 procedures; and

        d.       Approving the proposed form of publication notice (the “Publication Notice”).




8
    For the avoidance of doubt, the General Bar Date also applies to any claim by governmental units against the
    Individual Debtor and/or Genever (US).
9
    A separate governmental bar date is necessary for Genever (BVI) because under Bankruptcy Rule 3002(c)(1),
    governmental units have 180 days after the petition date to file proofs of claim. This only affects Genever
    (BVI)’s chapter 11 case because the chapter 11 cases of the Individual Debtor and Genever (US) have each
    been pending for more than 180 days.
                                                        7
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I.     Bar Dates

       25.     Bankruptcy Rule 3003(c)(3) provides that the Court shall fix the time within

which proofs of claim must be filed in a chapter 11 case pursuant to section 501 of the

Bankruptcy Code. Bankruptcy Rule 3003(c)(2) provides that any creditor who has a claim

against a Debtor that arose prior to its petition date, and whose claim is not scheduled in a

Debtor’s schedules of assets and liabilities (collectively, the “Schedules”) or whose claim is

listed on the Schedules as disputed, contingent, or unliquidated, must file a Proof of Claim

       26.     The Movants propose to establish the same General Bar Date for the chapter 11

cases of the Individual Debtor, Genever (BVI), and Genever (US), except that the deadline to file

claims by governmental units against Genever (BVI) shall be set for 180 days after the Genever

(BVI) Petition Date. To be clear, and as further detailed below, the Movants are seeking to set a

General Bar Date for the chapter 11 case of Genever (US) notwithstanding that a bar date had

previously been set by the New York Bankruptcy Court.

       27.     For the avoidance of doubt, the Bar Dates are the dates and times by which all

entities must submit Proofs of Claim, unless such entity or entities’ Proof of Claim falls within

one of the exceptions set forth in this Supplemental Motion. Subject to these exceptions, the Bar

Dates would apply to all claims against the Debtors that arose or are deemed to have arisen prior

to the relevant Petition Date, including secured claims, unsecured priority claims, and unsecured

non-priority claims. The Debtors submit that the timeframes and procedures proposed in this

Supplemental Motion will give all parties in interest adequate notice of the Bar Dates and an

opportunity to respond.




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II.    Procedures for Filing Proofs of Claim

       A.      Parties Required to File Proofs of Claim

       28.     Except as otherwise set forth herein, the Movants respectfully request that the

Court require each of the following entities holding claims against the Debtors arising before the

applicable petition date to file Proofs of Claim on or before the applicable Bar Date:

       a.      any entity whose claim against the Debtors is not listed in the Debtors’ Schedules
               or is listed as contingent, unliquidated or disputed if such entity desires to
               participate in the Chapter 11 Cases or share in any distribution in the Chapter 11
               Cases; and

       b.      any entity who believes that its claim is improperly classified in the Schedules or
               is listed in an incorrect amount and who desires to have its claim allowed in a
               different classification or amount other than that identified in the Schedules.

       B.      Parties Not Required to File Proofs of Claim

       29.     The Movants request that, notwithstanding anything to the contrary contained

herein, the Court exempt the following entity or entities from any requirement to file a Proof of

Claim before the applicable Bar Date:

       a.      any person whose claim is listed on the Schedules, if (x) the claim is not listed on
               the Schedules as disputed, contingent, or unliquidated, and (y) the person does not
               dispute the amount, nature, or priority of the claim as set forth in the Schedules;

       b.      any person whose claim has been paid in full;

       c.      a claim that has been allowed by an order of this Court entered on or before the
               General Bar Date;

       d.      a claim for which a separate deadline has been fixed by this Court;

       e.      any person that already has filed a Proof of Claim against the Debtors in the
               Chapter 11 Cases (including a Proof of Claim against Genever (US) while its case
               was pending in the New York Bankruptcy Court) in a form that is substantially
               similar to the Official Form; or

       f.      any person not required to file a proof of claim pursuant to any order of this
               Court.




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          C.       Form of Proof of Claim and Filing Proofs of Claim

          30.      The Movants request that the Court approve the form for filing a Proof of Claim

 based on Official Form 410 (including the related instructions) substantially in the form annexed

 as Annex II to the Proposed Order (the “Claim Form”).

          31.      With respect to preparing and filing of a Proof of Claim, the Movants propose that

 each Proof of Claim be required to be consistent with the following:

          a.       Proofs of Claim must: (i) be written in the English language; (ii) be denominated
                   in the lawful currency of the United States as of the Petition Date (using the
                   exchange rate, if applicable, as of the Petition Date); (iii) conform substantially to
                   the Claim Form or the Official Bankruptcy Form 410 (the “Official Form”);10 and
                   (iv) be signed by the claimant or, if the claimant is not an individual, by an
                   authorized agent of the claimant.

          b.       All Proofs of Claim must be filed so as to be received on or before the applicable
                   Bar Date by the Bankruptcy Court at the following address:

                                    US Bankruptcy Court
                                    District of Connecticut
                                    Brien McMahon Federal Building
                                    915 Lafayette Boulevard
                                    Bridgeport, CT 06604

                   A Proof of Claim is deemed to be timely filed only if it is actually received by
                   the Court by the General Bar Date. Alternatively, Proofs of Claim may be
                   submitted electronically with the Bankruptcy Court.

                   Proofs of Claim may not be delivered by facsimile, telecopy, or electronic
                   mail transmission.

          c.       Any entity (including, without limitation, individuals, partnerships, corporations,
                   joint ventures, trusts, or governmental units) that asserts a claim arising from the
                   rejection of an executory contract or unexpired lease must file a Proof of Claim
                   based on such rejection by the later of (i) the applicable Bar Date and (ii) the date
                   that is thirty (30) days after the entry of an order by the Court approving such
                   rejection, or be forever barred from so filing. Notwithstanding the foregoing, a
                   party to an executory contract or unexpired lease that asserts a claim on account
                   of unpaid amounts accrued and outstanding as of the applicable petition date,
                   pursuant to such executory contract or unexpired lease (other than a claim for

 10
      The Official Form can be found at www.uscourts.gov/forms/bankruptcy-forms on the official website for the
      United States Courts.
                                                        10
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                  rejection damages), must file a Proof of Claim for such unpaid amounts on or
                  before the Bar Date, unless another exception applies.

        d.        If the Movants amend or supplement the Schedules of Assets and Liabilities (the
                  “Schedules”) after the notice of the Bar Date has been given in accordance with
                  the terms of the Bar Date Order, then the Movants shall give notice of any
                  amendment or supplement to the holders of any claims affected thereby, and such
                  holders shall have until the later of (i) the Bar Date and (ii) thirty (30) days from
                  the date of such notice to file a Proof of Claim, or be forever barred from so
                  filing; provided, however, that any holder of a claim listed on the Schedules as
                  disputed, contingent, or unliquidated shall have forty-five (45) calendar days with
                  respect to such claim affected by such amendment as the bar date for filing a
                  Proof of Claim.

        32.       In addition, the Claim Form has been modified to allow holders of claims against

 the Individual Debtor to elect to also assert their claim against Genever (BVI) and Genever (US)

 (the “Genever Debtors”) on the basis that the Genever Debtors are or were alter egos of the

 Individual Debtor.

        33.       The Bar Date Notice (as defined below) describes the alter ego issue as follows:

                 If the Genever Debtors are or were alter egos of the Individual Debtor, then a
                  creditor of the Individual Debtor would also be a creditor of the Genever Debtors,
                  despite the absence of a direct contractual or other relationship between the
                  creditor and the Genever Debtors. To be clear, if a creditor holds a claim against
                  the Genever Debtors based on a direct contractual or other relationship between
                  the creditor and the Genever Debtors (i.e., in addition to a claim based on alter
                  ego), a separate Proof of Claim against Genever (BVI) and/or Genever (US), as
                  applicable, must be filed.

                 Generally, when analyzing alter ego claims, courts look to (1) whether the
                  relevant entities/persons operated as a single economic unit and (2) whether there
                  was an overall element of injustice or unfairness in maintaining the separateness
                  between the Individual Debtor and the Genever Debtors. In analyzing these
                  issues, courts generally consider a number of factors, including whether the entity
                  that is the alleged alter ego entity was adequately capitalized, observed corporate
                  formalities, and/or was a façade for the person in control of the alter ego entity.
                  To be clear, the foregoing list of factors is not exhaustive and no single factor is
                  dispositive. The Bar Date Notice makes clear that creditors should consult their
                  attorney regarding these matters.

                 The Trustee, Genever (BVI), and Genever (US) reserve all their rights to object to
                  any claims based on an alter ego theory, including on the basis that the Trustee is


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                the only party entitled to assert that Genever (BVI) and Genever (US) are or were
                alter egos of the Individual Debtor.

 III.   Consequences of Failure to File a Proof of Claim

        34.     Pursuant to Bankruptcy Rule 3003(c)(2), any holder of a claim who fails to timely

 file a Proof of Claim as provided herein shall (a) be forever barred, estopped, and enjoined from

 asserting such claims against the Debtors, their property, or their estates (or from submitting a

 Proof of Claim with respect thereto) and (b) not be treated as a creditor with respect to such claim

 for the purposes of voting and distribution with respect to any chapter 11 plan or plans of

 reorganization that may be filed in the Chapter 11 Cases.

 IV.    Procedures for Providing Notice of the Bar Dates

        35.     The Movants propose the following procedures (the “Procedures”) for providing

 mailing and publication notice of the Bar Dates:

        A.      Bar Date Notices

        36.     Pursuant to Bankruptcy Rule 2002(a)(7), (f), and (l), the Movants propose to

 provide notice of the Bar Dates to all parties in interest as follows:

        a.      within seven (7) business days after entry of the Proposed Order, the Movants
                propose to cause written notice of the Bar Dates, substantially in the form
                annexed as Annex I to the Proposed Order (the “Bar Date Notice”) to be served
                via first class mail to the following entities (or their respective counsel, if known):

                        i.      the United States Trustee;

                        ii.     counsel to the Committee;

                        iii.    all known holders of claims listed on the Schedules at the
                                addresses stated therein or as updated pursuant to a request made
                                to the Movants by any such creditor or by returned mail from the
                                post office with a forwarding address; provided, however, that all
                                holders of claims listed as disputed, contingent, or unliquidated in
                                the Debtors’ Schedules shall also be served with a Notice of
                                Disputed, Contingent, or Unliquidated Claim and Notice of
                                Deadline For Filing Proof of Claim pursuant to Local Rule 3003-1
                                and the Court’s Order and Notice to Disputed, Contingent and
                                                   12
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                                     Unliquidated Creditors (Appendix K), substantially in the form
                                     attached to the Proposed Order as Annex IV (the “Local Rule
                                     3003-1 Notice”);

                            iv.      all parties actually known to the Movants as having potential
                                     claims against the Debtors;

                            v.       all counterparties to the Debtors’ executory contracts and
                                     unexpired leases listed on the Schedules at the addresses stated
                                     therein or as updated pursuant to a request made to the Movants by
                                     any such counterparty or by returned mail from the post office with
                                     a forwarding address;

                            vi.      the attorneys of record to all parties to pending litigation against
                                     the Debtors (as of the date of entry of the Bar Date Order);11

                            vii.     the Internal Revenue Service, the Securities and Exchange
                                     Commission, the attorneys general for the states of Connecticut
                                     and New York, and local taxing authorities in Connecticut and
                                     New York;

                            viii.    all persons or entities that have filed claims in the Chapter 11
                                     Cases (as of the date of entry of the Bar Date Order);

                            ix.      all parties who have sent correspondence to the Court and that are
                                     listed on the Court’s electronic docket for the Chapter 11 Cases (as
                                     of the date of entry of the Bar Date Order);

                            x.       all parties who have sent correspondence to the Trustee regarding
                                     assets of, or claims against, the Estate.

                            xi.      all parties who have requested notice pursuant to Bankruptcy Rule
                                     2002 in the Chapter 11 Cases (as of the date of entry of the Bar
                                     Date Order); and

                            xii.     such additional persons and entities as deemed appropriate by the
                                     Movants.

          37.      The proposed Bar Date Notice will notify the parties of the Bar Dates and will

 contain information regarding (i) who must file a Proof of Claim, (ii) the procedures for filing a




 11
      The Individual Debtor shall provide the Trustee with such information within two (2) business days of entry of
      this Bar Date Order.
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 Proof of Claim, and (iii) the consequences of failure to timely file a Proof of Claim. The Movants

 request the Court approve the use of the Bar Date Notice as set forth in this Supplemental Motion

        B.       Publication Notice

        38.      In addition to the foregoing, the Movants propose to publish the Bar Date Notice

 as soon as reasonably practicable after the date on which the Proposed Order is entered, modified

 for publication in substantially the form annexed as Annex III to the Proposed Order

 (the “Publication Notice”), on one occasion in each of the following newspapers:

              a. the USA Today;

              b. Sing Tao USA (with the Publication Notice translated into Mandarin); and

              c. The World Journal (with the Publication Notice translated into Mandarin), with
                 such publication to occur no later than ten (10) business days after the entry of
                 this Bar Date Order.

                                        BASIS FOR RELIEF

 I.     The Bar Dates and Procedures for Filing Proofs of Claim Are Reasonable and
        Should be Approved

        39.       Bankruptcy Rule 3003(c)(3) generally governs the filing of proofs of claim in a

 chapter 11 case and provides, in relevant part, that “[t]he court shall fix and for cause shown may

 extend the time within which proofs of claim or interest may be filed.”

        40.      In this case, the proposed Procedures provide creditors with ample notice and

 opportunity and a clear process for filing Proofs of Claim and thus are designed to achieve

 administrative and judicial efficiency. Indeed, the proposed Procedures will provide

 comprehensive notice and clear instructions to creditors and allow the Chapter 11 Cases to move

 forward quickly with minimal administrative expense and delay.

        41.      The Movants’ proposed Procedures provide clear instructions that will help avoid

 confusion or uncertainty among creditors that might lead them to file unnecessary protective


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 Proofs of Claim or multiple Proofs of Claim that would cause expense and delay in the claims

 process for all parties.

         42.     Additionally, while a bar date had previously been set in Genever (US)’s chapter

 11 case for March 10, 2021, the Movants submit that it is appropriate to set a new bar date in

 Genever (US)’s case because creditors of the Individual Debtor did not receive notice of the

 deadline to file claims in Genever (US)’s chapter 11 case, and, thus, they did not have the

 opportunity to assert claims against Genever (US), including on the basis that Genever US is an

 alter ego of the Individual Debtor. This is to be contrasted with PAX, one of the Individual

 Debtor’s creditors which did receive notice of the bar date in Genever (US)’s case and which

 filed a proof of claim in Genever (US)’s case on the basis that, among other things, Genever

 (US) is the alter ego of the Individual Debtor.

         43.     As a result, absent relief from this Court, creditors of the Individual Debtor would

 effectively be structurally subordinated to the claims of the handful of creditors that did file

 proofs of claims in Genever (US)’s chapter 11 case because they would be limited to the equity

 value, if any, that remains at Genever (US) after satisfying the claims (to the extent allowed) of

 the few creditors that did file proofs of claim in Genever (US)’s case. If Genever US (and other

 entities owned by the Debtor or his family members) are found to be alter egos of the Debtor, the

 value of the assets belonging to all of these entities, including the Sherry Netherland Apartment,

 should be collected by the Trustee to fund distributions to all of the Individual Debtor’s

 legitimate creditors.

         44.     Setting the General Bar Date as the new bar date for claims against Genever (US)

 would remedy any unfairness by allowing all creditors of the Debtor to be given the opportunity

 to assert claims against the Individual Debtor and with respect to all his assets (including the



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 Sherry Netherland Apartment). For the avoidance of doubt, entities that previously filed a Proof

 of Claim in Genever (US)’s chapter 11 case are not required to file a new Proof of Claim.

        45.     Finally, the Movants submit that it will minimize confusions to modify the Claim

 Form to allow holders of claims against the Individual Debtor to elect to also assert their claim

 against Genever (BVI) and Genever (US) on the basis that Genever (BVI) and Genever (US) are

 or were alter egos of the Individual Debtor. Absent providing such an election on the Claim

 Form, many creditors of the Individual Debtor may inadvertently fail to also assert an alter ego

 claim against Genever (BVI) and/or (Genever (US). Moreover, the instructions to the Claim

 Form also make clear that the Trustee, Genever (BVI), and Genever (US) reserve their rights to

 object to any such claims, including on the basis that the Trustee is the only party entitled to

 assert that Genever (BVI) and Genever (US) are or were alter egos of the Individual Debtor. For

 the avoidance of doubt, any creditor of the Individual Debtor that has a separate claim against

 Genever (BVI) and/or Genever (US) (i.e., in addition to a claim based on alter ego) must file a

 separate Proof of Claim against Genever (BVI) and/or Genever (US), as applicable.

 II.    The Proposed Notice Procedures Are Reasonable and Should be Approved

        46.     Bankruptcy Rule 2002(a)(7) requires that the Debtors provide claimants at least

 21-days’ notice by mail of the Bar Dates pursuant to Bankruptcy Rule 3003(c). Additionally,

 Bankruptcy Rule 2002(l) provides that the Court may order notice by publication if it finds that

 notice by mail is impracticable or it is desirable to supplement other notice. Bankruptcy Rule

 9008 provides that the Court shall determine the form and manner of publication notice, the

 newspapers used, and the frequency of publication. In addition, section 105(a) of the

 Bankruptcy Code, in conjunction with Bankruptcy Rule 9007 and certain subsections of

 Bankruptcy Rule 2002, permits the Court to establish notice standards as to most pleadings

 which are likely to be filed in a bankruptcy case. See Fed. R. Bank. P. 2002(m) (providing
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 authority to determine notice requirements as to Bankruptcy Rule 2002 matters); Bankruptcy

 Rule 9007 (providing overall authority to regulate notices).

        47.     The Movants propose to provide the Bar Date Notice by mail to all known

 creditors and utilize publication to give notice to its unknown creditors. The Movants submit

 this procedure is consistent with applicable case law.

        48.     The Movants submit that the relief requested herein provides for clear notice of

 the General Bar Date (and other Bar Dates as set forth herein) in satisfaction of the requirements

 of the Bankruptcy Rules and consistent with the underlying policies of the Bankruptcy Code.

 Accordingly, the Movants respectfully submit that the Bar Dates and the form and manner of

 providing notice thereof are appropriate in light of the circumstances, inure to the benefit of all

 parties in interest, and should be approved.

                  WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h)

        49.     To implement the foregoing successfully, the Movants request that the Court enter

 an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)

 and that the Movants have established cause to exclude such relief from the 14-day stay period

 under Bankruptcy Rule 6004(h).

                                  RESERVATION OF RIGHTS

        50.     Nothing contained herein or any actions taken pursuant to such relief requested is

 intended or shall be construed as (a) an admission as to the amount of, basis for, or validity of

 any claim against any of the Debtors under the Bankruptcy Code or other applicable non-

 bankruptcy law; (b) a waiver of the Movants’ or any other party in interest’s rights to dispute any

 claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

 admission that any particular claim is of a type specified or defined in this Supplemental Motion

 or any order granting the relief requested by this Supplemental Motion or a finding that any

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 particular claim is an administrative expense claim or other priority claim; (e) a waiver of any

 claims or causes of action which may exist against any creditor or interest holder; (f) a request or

 authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365

 of the Bankruptcy Code; (g) a waiver or limitation of the Movants’, or any other party in

 interest’s, rights under the Bankruptcy Code or any other applicable law; (h) an admission as to

 the validity, priority, enforceability, or perfection of any lien on, security interest in, or other

 encumbrance of property of the Debtors’ estates; or (i) a concession by the Movants that any

 liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the

 relief requested in this Supplemental Motion are valid and the rights of all parties in interest are

 expressly reserved to contest the extent, validity, or perfection or seek avoidance of all such

 liens.

                                                NOTICE

          51.    The Movants will provide notice of this Supplemental Motion to: (a) the Office of

 the United States Trustee for the District of Connecticut; (b) the Committee; (c) holders of

 claims filed in the Genever (US) case; (d) holders of the 20 largest unsecured claims against

 Genever (BVI); (e) the Office of the United States Attorney for the District of Connecticut; (f)

 the Office of the United States Attorney for the Southern District of New York; (g) the state

 attorneys general for Connecticut and New York; (h) the Debtors’ identified, interested taxing

 authorities, including the Internal Revenue Service; and (i) any party that has requested notice

 pursuant to Bankruptcy Rule 2002 in the chapter 11 cases of the Individual Debtor, Genever

 (BVI), and/or Genever (US). In view of the nature of the relief requested, the Movants

 respectfully submit that no other or further notice need be provided.


                             [Remainder of page intentionally left blank.]


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        The Movants respectfully request entry of the Order, granting the relief requested in this

 Supplemental Motion and such other and further relief as the Court deems appropriate under the

 circumstances.

  Dated: November 8, 2022
         New Haven, Connecticut

  GENEVER HOLDINGS LLC                               LUC A. DESPINS, CHAPTER 11 TRUSTEE

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  Debtor and Debtor-in-Possession
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  Debtor and Debtor-in-Possession
                                                19
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                                     Exhibit A

                              Proposed Order (Clean)
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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF CONNECTICUT
                                          BRIDGEPORT DIVISION
 ------------------------------------------------------x
                                                       :
 In re:                                                : Chapter 11
                                                       :
 HO WAN KWOK, et al.,1                                 : Case No. 22-50073 (JAM)
                                                       :
                   Debtors.                            : (Jointly Administered)
                                                       :
 ------------------------------------------------------x

           ORDER ESTABLISHING DEADLINES FOR FILING PROOFS OF
        CLAIM AND APPROVING FORM AND MANNER OF NOTICE THEREOF

         Upon (i) the motion (the “Original Bar Date Motion”) filed by Ho Wan Kwok (the

 “Individual Debtor”) for entry of an order setting bar dates for creditors to submit Proofs of

 Claim in the Individual Debtor’s chapter 11 case and granting related relief and (ii) the

 supplemental motion (the “Supplemental Motion” and, together with the Original Bar Date

 Motion, the “Motion”)2 filed by Luc Despins, in his capacity as the chapter 11 trustee (the

 “Trustee”) appointed in the chapter 11 case of Ho Wan Kwok (the “Individual Debtor”),

 Genever Holdings Corporation (“Genever (BVI)”), and Genever Holdings LLC (“Genever (US)”

 and, together with the Trustee, the “Movants”), pursuant to section 502(b)(9) of title 11 of the

 United States Code (the “Bankruptcy Code”) and Rule 3003(c)(3) of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an order (this “Bar Date Order”)

 (a) setting bar dates for creditors to submit Proofs of Claim in the Chapter 11 Cases,


 1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
     Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
     mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
     Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
     Wan Kwok (solely for purposes of notices and communications).
 2
     Capitalized terms used but not defined herein have the meanings ascribed to such terms in the Supplemental
     Motion.
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 (b) approving procedures for submitting Proofs of Claim, (c) approving the form of Proof of

 Claim, and (d) approving the form of notice of the bar dates and manner of service thereof, all as

 more fully set forth in the Supplemental Motion; and the Court having jurisdiction to consider

 the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and

 the Amended Standing Order of Reference from the United States District Court for the District

 of Connecticut (as amended); and the Trustee having been appointed in the Individual Debtor’s

 chapter 11 case by order, dated July 8, 2022; and this Court having found that the Motion is a

 core proceeding pursuant to 28 U.S.C. § 157(b), and that the Movants consent to entry of a final

 order under Article III of the United States Constitution; and this Court having found that venue

 of the Chapter 11 Cases and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and this Court having found that proper and adequate notice of the Motion has been

 given and that no other or further notice is necessary; and this Court having reviewed the Motion

 and having heard statements in support of the Motion at a hearing held before this Court (the

 “Hearing”); and this Court having determined that the legal and factual bases set forth in the

 Motion and at the Hearing establish just cause for the relief granted herein; and any objections to

 the relief requested herein having been withdrawn or overruled on the merits; and after due

 deliberation thereon and good and sufficient cause appearing therefor, it is HEREBY ORDERED

 THAT:

         1.     The Motion is granted as provided herein.

         2.     Except as otherwise provided herein,

                a.      all persons and entities (including, without limitation, individuals,
                        partnerships, corporations, joint ventures, trusts, and governmental units)
                        that assert a claim, as defined in section 101(5) of the Bankruptcy Code,
                        against the Individual Debtor or Genever (US)—which arose on or prior to




                                                  2
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                           the filing of each such Debtors’ respective chapter 11 cases3—shall file a
                           proof of such claim in writing so that it is received on or before January
                           13, 2023 at 11:59 p.m. (prevailing Eastern Time) (the “General Bar
                           Date”) or such other later date fixed by the Court if a person or entity
                           obtains leave of the Court to assert a claim after the General Bar Date;4

                  b.       all persons and entities (including, without limitation, individuals,
                           partnerships, corporations, joint ventures, trusts, but excluding
                           governmental units) that assert a claim, as defined in section 101(5) of the
                           Bankruptcy Code, against Genever (BVI)—which arose on or prior to the
                           filing of Genever (BVI)’s chapter 11 case5—shall file a proof of such
                           claim in writing so that it is received on or before January 13, 2023 at
                           11:59 p.m. (prevailing Eastern Time), i.e., the General Bar Date, or such
                           other later date fixed by the Court if a person or entity obtains leave of the
                           Court to assert a claim after the General Bar Date; and

                  c.       all governmental units that assert a claim, as defined in section 101(5) of
                           the Bankruptcy Code, against Genever (BVI)—which arose on or prior to
                           the filing of Genever (BVI)’s chapter 11 case—shall file a proof of such
                           claim in writing so that it is received on or before April 10, 2023 at 11:59
                           p.m. (prevailing Eastern Time), (the “Governmental/Genever (BVI) Bar
                           Date” and, together with the General Bar Date, the “Bar Dates”).

         3.        The following procedures for the filing of Proofs of Claim shall apply:

                  a.       Proofs of Claim must: (i) be written in the English language; (ii) be
                           denominated in the lawful currency of the United States as of the
                           applicable Petition Date (using the exchange rate, if applicable, as of the
                           applicable Petition Date); (iii) conform substantially to the Claim Form or
                           the Official Bankruptcy Form 410 (the “Official Form”);6 and (iv) be
                           signed by the claimant or, if the claimant is not an individual, by an
                           authorized agent of the claimant.

                  b.       All Proofs of Claim must be filed so as to be received on or before the
                           applicable Bar Date by the Court at the following address:

                                    US Bankruptcy Court
                                    District of Connecticut

 3
     The Individual Debtor commenced his chapter 11 case on February 15, 2022, and Genever (US) commenced its
     chapter 11 case on October 12, 2020.
 4
     For the avoidance of doubt, the General Bar Date also applies to any claims by governmental units against the
     Individual Debtor and/or Genever (US).
 5
     Genever (BVI) commenced its chapter 11 case on October 11, 2022.
 6
     The Official Form can be found at www.uscourts.gov/forms/bankruptcy-forms on the official website for the
     United States Courts.



                                                         3
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                                   Brien McMahon Federal Building
                                   915 Lafayette Boulevard
                                   Bridgeport, CT 06604

                          A Proof of Claim is deemed to be timely filed only if it is actually
                          received by the Court by the applicable Bar Date. Alternatively, Proofs of
                          Claim may be submitted electronically with the Court through the Court’s
                          website at http://www.ctb.uscourts.gov.7

                          Proofs of Claim may not be delivered by facsimile, telecopy, or
                          electronic mail transmission.

                 c.       Any person (including, without limitation, individuals, partnerships,
                          corporations, joint ventures, trusts, or governmental units) that asserts a
                          claim arising from the rejection of an executory contract or unexpired
                          lease must file a Proof of Claim based on such rejection by the later of (i)
                          the applicable Bar Date and (ii) the date that is thirty (30) days after the
                          entry of an order by the Court approving such rejection, or be forever
                          barred from so filing. Notwithstanding the foregoing, a party to an
                          executory contract or unexpired lease that asserts a claim on account of
                          unpaid amounts accrued and outstanding as of the applicable Petition
                          Date, pursuant to such executory contract or unexpired lease (other than a
                          claim for rejection damages), must file a Proof of Claim for such unpaid
                          amounts on or before the General Bar Date unless an exception identified
                          in subsection (e) below applies.

                 d.       If the Movants amend or supplement the Debtors’ Schedules of Assets and
                          Liabilities (the “Schedules”) after the notice is given of the applicable Bar
                          Date, which is to be mailed under the terms of this Bar Date Order, then
                          the Movants shall give notice of any amendment or supplement to the
                          holders of any claims affected thereby, and such holders shall have until
                          the later of (i) the applicable Bar Date and (ii) thirty (30) days from the
                          date of such notice to file a Proof of Claim, or be forever barred from so
                          filing; provided, however, that any holder of a claim listed on the
                          Schedules as disputed, contingent, or unliquidated shall have forty-five
                          (45) calendar days with respect to such claim affected by such amendment
                          as the bar date for filing a proof of claim.

                 e.       The following persons are not required to file a Proof of Claim on or
                          before the applicable Bar Date, solely with respect to the claims described
                          below:



 7
     A login and password to the Court’s Public Access to Court Electronic Records (“PACER”) are required in
     order to access the Court’s website, and can be obtained through the PACER Service Center at
     http://www.pacer.gov.



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                        i.      any person whose claim is listed on the Schedules, if (x) the claim
                                is not listed on the Schedules as disputed, contingent, or
                                unliquidated, and (y) the person does not dispute the amount,
                                nature, or priority of the claim as set forth in the Schedules;

                        ii.     any person whose claim has been paid in full;

                        iii.    a claim that has been allowed by an order of this Court entered on
                                or before the applicable Bar Date;

                        iv.     a claim for which a separate deadline has been fixed by this Court;

                        v.      any person that already has filed a Proof of Claim against the
                                Debtors in the Chapter 11 Cases in a form that is substantially
                                similar to the Official Form; or

                        vi.     any person not required to file a proof of claim pursuant to any
                                order of this Court.

        4.      Pursuant to Bankruptcy Rule 3003(c)(2), any holder of a claim who fails to timely

 file a Proof of Claim as provided herein shall (a) be forever barred, estopped, and enjoined from

 asserting such claims against the Debtors, their property, or their estates (or from submitting a

 Proof of Claim with respect thereto) and (b) not be treated as a creditor with respect to such

 claim for the purposes of voting and distribution with respect to any chapter 11 plan or plans of

 reorganization that may be filed in the Chapter 11 Cases.

        5.      The (a) proposed notice of the Bar Dates, substantially in the form annexed hereto

 as Annex I (the “Bar Date Notice”), (b) the proposed form for Proofs of Claim (the “Claim

 Form”), substantially in the form annexed hereto as Annex II, and (c) the proposed form of

 publication notice (the “Publication Notice”), substantially in the form annexed hereto as

 Annex III, are approved.

        6.      On the Claim Form, holders of claims against the Individual Debtor may elect to

 also assert their claim against Genever (BVI) and Genever (US) on the basis that Genever (BVI)

 and Genever (US) are or were alter egos of the Individual Debtor. To be clear, the Trustee,




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 Genever (BVI), and Genever (US) reserve all their rights to object to any such claims, including

 on the basis that the Trustee is the only party entitled to assert that Genever (BVI) and Genever

 (US) are or were alter egos of the Individual Debtor. For the avoidance of doubt, any creditor of

 the Individual Debtor that has a separate claim against Genever (BVI) and/or Genever (US) (i.e.,

 in addition to a claim based on alter ego) must file a separate Proof of Claim against Genever

 (BVI) and/or Genever (US), as applicable.

        7.      The following procedures are approved with respect to notice of the Bar Dates:

                Within seven (7) business days after entry of this Bar Date Order, the Movants
                shall cause to be mailed (i) the Claim Form and (ii) the Bar Date Notice to the
                following parties:

                       i.      the United States Trustee;

                       ii.     counsel to the Committee;

                       iii.    all known holders of claims listed on the Schedules at the
                               addresses stated therein or as updated pursuant to a request made
                               to the Movants by any such creditor or by returned mail from the
                               post office with a forwarding address; provided, however, that all
                               holders of claims listed as disputed, contingent, or unliquidated in
                               the Debtors’ Schedules shall also be served with a Notice of
                               Disputed, Contingent, or Unliquidated Claim and Notice of
                               Deadline For Filing Proof of Claim pursuant to Local Rule 3003-1
                               and the Court’s Order and Notice to Disputed, Contingent and
                               Unliquidated Creditors (Appendix K), substantially in the form
                               attached hereto as Annex IV (the “Local Rule 3003-1 Notice”);

                       iv.     all parties actually known to the Movants as having potential
                               claims against the Debtors;

                       v.      all counterparties to the Debtors’ executory contracts and
                               unexpired leases listed on the Schedules at the addresses stated
                               therein or as updated pursuant to a request made to the Movants by
                               any such counterparty or by returned mail from the post office with
                               a forwarding address;




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                           vi.      the attorneys of record to all parties to pending litigation against
                                    the Debtor (as of the date of entry of the Bar Date Order);8

                           vii.     the Internal Revenue Service, the Securities and Exchange
                                    Commission, the attorneys general for the states of Connecticut
                                    and New York, and local taxing authorities in Connecticut and
                                    New York;

                           viii.    all persons or entities that have filed claims in the Chapter 11
                                    Cases (as of the date of entry of the Bar Date Order);

                           ix.      all parties who have sent correspondence to the Court and that are
                                    listed on the Court’s electronic docket for these Chapter 11 Cases
                                    (as of the date of entry of the Bar Date Order);

                           x.       all parties who have sent correspondence to the Trustee regarding
                                    assets of, or claims against, the Debtors’ estates.

                           xi.      all parties who have requested notice pursuant to Bankruptcy Rule
                                    2002 in the Chapter 11 Cases (as of the date of entry of the Bar
                                    Date Order); and

                           xii.     such additional persons and entities as deemed appropriate by the
                                    Movants.

          8.      The Movants shall cause the Publication Notice to be published on one occasion

 in each of the following newspapers:

               a. the USA Today;

               b. Sing Tao USA (with the Publication Notice translated into Mandarin); and

               c. The World Journal (with the Publication Notice translated into Mandarin)

 with such publication to occur no later than ten (10) business days after the entry of this Bar Date

 Order.

          9.      The Movants are authorized and empowered to take such steps and perform such

 acts as may be necessary to implement and effectuate the terms of this Bar Date Order.




 8
     The Debtor shall provide the Trustee with such information within 2 business days of entry of this Bar Date Order.



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         10.     Notification of the relief granted by this Bar Date Order as provided herein is fair

 and reasonable and will provide good, sufficient, and proper notice to all of the Debtors’

 creditors of their rights and obligations in connection with any potential claims that they may

 have against the Debtors in the Chapter 11 Cases.

         11.     Nothing in this Bar Date Order shall prejudice the right of the Movants or any

 other party in interest to dispute or assert any setoffs or defenses to any claim that may be filed in

 the Chapter 11 Cases, reflected in the Schedules, or otherwise.

         12.     Entry of this Bar Date Order is without prejudice to the right of the Movants to

 seek a further order of this Court fixing the deadline by which holders of claims not subject to

 the Bar Dates established herein must file Proofs of Claim or assert such claims by way of

 motion or application against the Debtors or be forever barred from so filing.

         13.     This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to this Order.

  Dated: ______________, 2022
         Bridgeport, Connecticut                       UNITED STATES BANKRUPTCY JUDGE




                                                   8
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                                      Annex I

                                  Bar Date Notice
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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF CONNECTICUT
                                          BRIDGEPORT DIVISION
 ------------------------------------------------------x
                                                       :
 In re:                                                : Chapter 11
                                                       :
                                1
 HO WAN KWOK, et al.,                                  : Case No. 22-50073 (JAM)
                                                       :
                   Debtors.                            : (Jointly Administered)
                                                       :
 ------------------------------------------------------x


     NOTICE OF DEADLINES REQUIRING THE FILING OF PROOFS OF CLAIM TO
             ALL PERSONS WITH CLAIMS AGAINST THE DEBTORS

 TO:     ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST (A) HO
         WAN KWOK, A.K.A. GUO WENGUI, A.K.A. MILES KWOK, (B) GENEVER
         HOLDINGS CORPORATION, AND/OR (C) GENEVER HOLDINGS LLC

         On February 15, 2022 (the “Individual Debtor Petition Date”), Mr. Ho Wan Kwok (the
 “Individual Debtor”) filed a voluntary petition for relief under chapter 11 of title 11 of the United
 States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
 Connecticut (the “Connecticut Bankruptcy Court”). On July 8, 2022, the Connecticut
 Bankruptcy Court entered an order granting the appointment of Luc A. Despins as the chapter 11
 trustee (the “Trustee”) in the Individual Debtor’s chapter 11 case.

        On October 12, 2020 (the “Genever (US) Petition Date”), Genever Holdings LLC
 (“Genever (US)”) filed its chapter 11 petition in the United States Bankruptcy Court for the
 Southern District of New York (the “New York Bankruptcy Court”). On November 3, 2022, the
 New York Bankruptcy Court entered an order transferring Genever (US)’s chapter 11 case to the
 Connecticut Bankruptcy Court. Genever (US)’s only scheduled assets are a residence at the
 Sherry Netherland Hotel in New York, New York, and a related security deposit for a total
 scheduled value of approximately $73 million.2

        On October 11, 2022 (the “Genever (BVI) Petition Date” and, together with the Genever
 (US) Petition Date and the Individual Debtor Petition Date, the “Petition Dates”), Genever


 1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
     Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
     mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
     Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
     Wan Kwok (solely for purposes of notices and communications).
 2
     This amount does not reflect the fair market value of the Sherry Netherland apartment.
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 Holdings Corporation (“Genever (BVI)”) filed its chapter 11 petition in the Connecticut
 Bankruptcy Court. Genever (BVI) wholly owns Genever (US).

       By order dated November [__], 2022, the chapter 11 cases of the Individual Debtor,
 Genever (US), and Genever (BVI) are jointly administered for procedural purposes only.

         On November [__], 2022, the Connecticut Bankruptcy Court entered an order (the “Bar
 Date Order”) establishing the following deadlines to file proofs of claim against the Debtors in
 their chapter 11 cases (the “Chapter 11 Cases”):3

     1. Prepetition Claims Against Individual Debtor: The last date and time for all persons and
        entities (including, without limitation, individuals, partnerships, corporations, joint
        ventures, trusts, and governmental units) to file a proof of claim (a “Proof of Claim”) in
        respect of any claim (as defined in the Bankruptcy Code) arising prior to the Individual
        Debtor Petition Date (i.e., February 15, 2022) against the Individual Debtor is January
        13, 2023 at 11:59 p.m. (prevailing Eastern Time) (the “General Bar Date”).4

     2. Prepetition Claims Against Genever (US): The last date and time for all persons and
        entities (including, without limitation, individuals, partnerships, corporations, joint
        ventures, trusts, and governmental units) to file a Proof of Claim in respect of any claim
        (as defined in the Bankruptcy Code) arising prior to the Genever (US) Petition Date (i.e.,
        October 12, 2020) against Genever (US) is January 13, 2023 at 11:59 p.m. (prevailing
        Eastern Time), i.e., the General Bar Date.

     3. Prepetition Claims Against Genever (BVI):

             a. The last date and time for all persons and entities (including, without limitation,
                individuals, partnerships, corporations, and joint ventures) other than
                governmental units to file a Proof of Claim in respect of any claim (as defined in
                the Bankruptcy Code) arising prior to the Genever (BVI) Petition Date (i.e.,
                October 10, 2022) against Genever (BVI) is January 13, 2023 at 11:59 p.m.
                (prevailing Eastern Time), i.e., the General Bar Date.

             b. The last date and time for all governmental units to file a Proof of Claim in
                respect of any claim (as defined in the Bankruptcy Code) arising prior to the
                Genever (BVI) Petition Date (i.e., October 10, 2022) against Genever (BVI) is
                April 10, 2023 at 11:59 p.m. (prevailing Eastern Time) (the
                “Governmental/Genever (BVI) Bar Date” and, together with the General Bar
                Date, the “Bar Dates”).




 3
     The Connecticut Bankruptcy Court, upon motion by a creditor, may extend the time for filing Proofs of Claim
     after the applicable Bar Date to permit the filing of a late Proof of Claim.
 4
     For the avoidance of doubt, the General Bar Date also applies to any claims by governmental units against the
     Individual Debtor and/or Genever (US).



                                                         2
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        The Bar Dates and the procedures set forth below for filing Proofs of Claim (the
 “Procedures”) apply to all claims, excluding prepetition claims arising under section 503(b)(9) of
 the Bankruptcy Code, against the Debtors that arose before the applicable Petition Date.

         On the Proof of Claim form, holders of claims against the Individual Debtor may elect to
 also assert their claim against Genever (BVI) and Genever (US) (the “Genever Debtors”) on the
 basis that the Genever Debtors are or were alter egos of the Individual Debtor. If the Genever
 Debtors are or were alter egos of the Individual Debtor, then a creditor of the Individual Debtor
 would also be a creditor of the Genever Debtors, despite the absence of a direct contractual or
 other relationship between the creditor and the Genever Debtors. To be clear, if you hold a claim
 against the Genever Debtors based on a direct contractual or other relationship between the
 creditor and the Genever Debtors (i.e., in addition to a claim based on alter ego), you must file a
 separate Proof of Claim against Genever (BVI) and/or Genever (US), as applicable.

         Generally, when analyzing alter ego claims, courts look to (1) whether the relevant
 entities/persons operated as a single economic unit and (2) whether there was an overall element
 of injustice or unfairness in maintaining the separateness between the Individual Debtor and the
 Genever Debtors. In analyzing these issues, courts generally consider a number of factors,
 including whether the entity that is the alleged alter ego entity was adequately capitalized,
 observed corporate formalities, and/or was a façade for the person in control of the alter ego
 entity. To be clear, the foregoing list of factors is not exhaustive and no single factor is
 dispositive. You should consult your attorney regarding these matters.

         The Trustee, Genever (BVI), and Genever (US) reserve all their rights to object to any
 claims based on an alter ego theory, including on the basis that the Trustee is the only party
 entitled to assert that Genever (BVI) and Genever (US) are or were alter egos of the Individual
 Debtor.

        1.      WHO MUST FILE A PROOF OF CLAIM

         You must file a Proof of Claim in order to vote on a chapter 11 plan filed by the Debtors
 or to be able to share in distributions from the Debtors’ estates if you have a claim that arose
 before the applicable Petition Date, and it is not one of the types of claims described in section 4
 below. Claims based on acts or omissions of the Debtors that occurred before the Petition Date
 must be filed on or before the applicable Bar Date, even if such claims are not now fixed,
 liquidated, or certain or did not mature or become fixed, liquidated, or certain before the
 applicable Petition Date.

          Under section 101(5) of the Bankruptcy Code and as used in this notice, the word “claim”
 means a right to (a) payment, whether such right is reduced to judgment, liquidated,
 unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
 secured, or unsecured; or (b) an equitable remedy for breach of performance if such breach gives
 rise to a right to payment, whether such right to an equitable remedy is reduced to judgment,
 fixed, contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.




                                                  3
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         2.       WHAT TO FILE

        Enclosed with this notice is a Proof of Claim form for use in the Chapter 11 Cases. You
 may utilize the Proof of Claim form(s) enclosed with this notice in order to file your claim(s).
 Additional Proof of Claim forms and instructions may be obtained on the Connecticut
 Bankruptcy Court’s website located at www.uscourts.gov/forms/bankruptcy-forms.

         All Proofs of Claim must be signed by the claimant or, if the claimant is not an
 individual, by an authorized agent of the claimant. All Proofs of Claim must be written in
 English and be denominated in United States currency (using the exchange rate, if applicable, as
 of the Petition Date). You may attach to your completed Proof of Claim any documents on which
 such claim is based.

          All Proofs of Claim must not contain complete social security numbers or taxpayer
 identification numbers (include only the last four (4) digits of such numbers), complete birth
 dates (include only the relevant year), the names of any minors (include only such minors’
 initials), or financial account numbers (include only the last four (4) digits of such numbers).

         3.       WHEN AND WHERE TO FILE

        All Proofs of Claim must be filed so as to be received on or before the applicable Bar
 Date by the Connecticut Bankruptcy Court at the following address:

         US Bankruptcy Court
         District of Connecticut
         Brien McMahon Federal Building
         915 Lafayette Boulevard
         Bridgeport, CT 06604

         All Proofs of Claim will be deemed filed only when actually received at the address
 listed above on or before the applicable Bar Date. Alternatively, Proofs of Claim may be
 submitted electronically with the Connecticut Bankruptcy Court through the Connecticut
 Bankruptcy Court’s website at http://www.ctb.uscourts.gov.5

 PROOFS OF CLAIM MAY NOT BE DELIVERED BY FACSIMILE, TELECOPY, OR
 ELECTRONIC MAIL TRANSMISSION.




 5
     A login and password to the Connecticut Bankruptcy Court’s Public Access to Court Electronic Records
     (“PACER”) are required in order to access the Connecticut Bankruptcy Court’s website, and can be obtained
     through the PACER Service Center at http://www.pacer.gov.



                                                        4
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        4.      WHO DOES NOT NEED TO FILE A PROOF OF CLAIM

 You do not need to file a Proof of Claim on or before the General Bar Date if you are:

                a.      any person whose claim is listed on the Schedules, if (x) the claim is not
                        listed on the Schedules as disputed, contingent, or unliquidated, and (y)
                        the person does not dispute the amount, nature, or priority of the claim as
                        set forth in the Schedules;

                b.      any person whose claim has been paid in full;

                c.      a claim that has been allowed by an order of this Court entered on or
                        before the General Bar Date;

                d.      a claim for which a separate deadline has been fixed by this Court;

                e.      any person that already has filed a Proof of Claim against the Debtors in
                        the Chapter 11 Cases in a form that is substantially similar to the Official
                        Form; or

                f.      any person not required to file a proof of claim pursuant to any order of
                        the Connecticut Bankruptcy Court.

         This notice may be sent to many persons that have had some relationship with or have
 done some business with the Debtors, but that may not have an unpaid claim against any of the
 Debtors. The fact that you have received this notice does not mean that you have a claim against
 any of the Debtors or that the Connecticut Bankruptcy Court, the Trustee, or the Debtors believe
 that you have a claim against any of the Debtors.

        5.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         If you hold a claim arising from the rejection of an executory contract or unexpired lease
 you must file a Proof of Claim based on such rejection by the later of (i) the applicable Bar Date
 and (ii) the date that is thirty (30) days after entry of an order by the Connecticut Bankruptcy
 Court approving such rejection. Notwithstanding the foregoing, a party to an executory contract
 or unexpired lease that asserts a claim on account of unpaid amounts accrued and outstanding as
 of the applicable Petition Date pursuant to such executory contract or unexpired lease (other than
 a claim for rejection damages) must file a Proof of Claim for such amounts on or before the
 General Bar Date, unless an exception identified in section 4 above applies.

        6.      CONSEQUENCES OF THE FAILURE TO FILE A PROOF OF CLAIM BY
                THE APPLICABLE BAR DATE

      ANY HOLDER OF A CLAIM THAT IS NOT EXEMPTED FROM THE
 REQUIREMENTS OF THE BAR DATE ORDER, AS SET FORTH IN FULL IN SECTION 4
 ABOVE, AND THAT FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE
 APPROPRIATE FORM SHALL NOT BE TREATED AS A CREDITOR WITH RESPECT TO


                                                  5
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 SUCH ALLEGED CLAIM FOR THE PURPOSES OF VOTING ON ANY PLAN FILED IN
 THE CHAPTER 11 CASES AND FOR PARTICIPATING IN ANY DISTRIBUTION IN THE
 DEBTORS’ CHAPTER 11 CASE ON ACCOUNT OF SUCH ALLEGED CLAIM.

      PURSUANT TO BANKRUPTCY RULE 3003(c)(2), ANY HOLDER OF A CLAIM
 WHO FAILS TO TIMELY FILE A PROOF OF CLAIM AS PROVIDED HEREIN SHALL (A)
 BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM ASSERTING SUCH
 CLAIMS AGAINST THE DEBTORS, THEIR PROPERTY, OR THEIR ESTATE (OR FROM
 SUBMITTING A PROOF OF CLAIM WITH RESPECT THERETO) AND (B) NOT BE
 TREATED AS A CREDITOR WITH RESPECT TO SUCH CLAIM FOR THE PURPOSES OF
 VOTING AND DISTRIBUTION WITH RESPECT TO ANY CHAPTER 11 PLAN OR PLANS
 THAT MAY BE FILED IN THESE CHAPTER 11 CASES.

      THE CONNECTICUT BANKRUPTCY COURT, UPON MOTION BY A CREDITOR,
 MAY EXTEND THE TIME FOR FILING PROOFS OF CLAIM AFTER THE APPLICABLE
 BAR DATE TO PERMIT THE FILING OF A LATE PROOF OF CLAIM.

        7.      THE DEBTORS’ SCHEDULES AND ACCESS THERETO

          You may be listed as a holder of a claim against the Debtors on the Debtors’ Schedules.
 As set forth above, if you agree with the nature, amount, and status of your claim as listed on the
 applicable Debtor’s Schedules, and if your claim is not described as disputed, contingent, or
 unliquidated, then you need not (but still may) file a Proof of Claim. Otherwise, or if you decide
 to file a Proof of Claim, then you must do so before the applicable Bar Date, in accordance with
 the Procedures as set forth in this notice.

         Copies of the Debtors’ Schedules are available for inspection on the Connecticut
 Bankruptcy Court’s electronic docket for the Chapter 11 Cases, which may be accessed through
 the Connecticut Bankruptcy Court’s website at http://www.ctb.uscourts.gov. A login and
 password to the Connecticut Bankruptcy Court’s Public Access to Court Electronic Records
 (“PACER”) are required in order to access this information through the Connecticut Bankruptcy
 Court’s website, and can be obtained through the PACER Service Center at
 http://www.pacer.gov. Copies of the Debtors’ Schedules also may be examined between the
 hours of 9:00 a.m. and 4:30 p.m. (Eastern Time), Monday through Friday at the Office of the
 Clerk of the Connecticut Bankruptcy Court, located at:

        Brien McMahon Federal Building
        915 Lafayette Boulevard
        Bridgeport, CT 06604

 A HOLDER OF A POTENTIAL CLAIM AGAINST ANY OF THE DEBTORS SHOULD
 CONSULT AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS
 NOTICE, SUCH AS WHETHER THE HOLDER OF SUCH A POTENTIAL CLAIM SHOULD
 FILE A PROOF OF CLAIM.




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 8.     ADDITIONAL INFORMATION

         If you require additional information regarding this Notice, you may contact the Trustee’s
 counsel at 1-212-318-6690 or submit an inquiry via e-mail to douglassbarron@paulhastings.com.
 If you believe that you hold a claim against the Debtors, you should consult an attorney if you
 have any questions regarding this Notice, including whether you should file a Proof of Claim.



 Dated: ________, 2022


  GENEVER HOLDINGS LLC                               LUC A. DESPINS, CHAPTER 11 TRUSTEE

  By: _______________
     Douglas S. Skalka (ct00616)                     By: _______________
     Patrick R. Linsey (ct29437)                        Douglas S. Skalka (ct00616)
                                                        Patrick R. Linsey (ct29437)
      NEUBERT, PEPE & MONTEITH, P.C.                    NEUBERT, PEPE & MONTEITH, P.C.
                                                        195 Church Street, 13th Floor
      195 Church Street, 13th Floor                     New Haven, Connecticut 06510
      New Haven, Connecticut 06510                      (203) 781-2847
      (203) 781-2847                                    dskalka@npmlaw.com
      dskalka@npmlaw.com                                plinsey@npmlaw.com
      plinsey@npmlaw.com
                                                            and
         and
                                                        Nicholas A. Bassett (pro hac vice)
      Kevin J. Nash, Esq.                               PAUL HASTINGS LLP
      GOLDBERG WEPRIN FINKEL                            2050 M Street NW
      GOLDSTEIN LLP                                     Washington, D.C., 20036
      1501 Broadway, 22nd Floor                         (202) 551-1902
      New York, New York 10036                          nicholasbassett@paulhastings.com
      (212) 221-5700
                                                            and
  Counsel for Genever Holdings LLC
  Debtor and Debtor-in-Possession                       Douglass Barron (pro hac vice)
                                                        PAUL HASTINGS LLP
                                                        200 Park Avenue
  GENEVER HOLDINGS CORPORATION                          New York, New York 10166
  By: _______________                                   (212) 318-6079
     Douglas S. Skalka (ct00616)                        douglassbarron@paulhastings.com
     Patrick R. Linsey (ct29437)
                                                     Counsel for the Chapter 11 Trustee
      NEUBERT, PEPE & MONTEITH, P.C.




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     195 Church Street, 13th Floor
     New Haven, Connecticut 06510
     (203) 781-2847
     dskalka@npmlaw.com
     plinsey@npmlaw.com

  Counsel for Genever Holdings Corporation
  Debtor and Debtor-in-Possession




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                                     Annex II

                                    Claim Form
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  Fill in this information to identify the case:

  Debtor
                 _________________________________________________________________




  United States Bankruptcy Court for the'LVWULFWRI&RQQHFWLFXW

  Case number     ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                  

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:     Identify the Claim

1. Who is the current
   creditor?                       ___________________________________________________________________________________________________________
                                   Name of the current creditor (the person or entity to be paid for this claim)

                                   Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                      No
   someone else?                      Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices            Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                         different)
   creditor be sent?
                                   _____________________________________________________                       _____________________________________________________
   Federal Rule of                 Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                  ______________________________________________________                      ______________________________________________________
                                   Number      Street                                                          Number      Street

                                   ______________________________________________________                      ______________________________________________________
                                   City                       State             ZIP Code                       City                       State             ZIP Code

                                   Contact phone    ________________________                                   Contact phone   ________________________

                                   Contact email     ________________________                                  Contact email   ________________________



                                   Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                   __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              No
   one already filed?
                                      Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                MM / DD       / YYYY



5. Do you know if anyone              No
   else has filed a proof             Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                          Proof of Claim                                                             page 1
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:   ____ ____ ____ ____
   debtor?



7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                             No
                                                                             Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                   charges required by Bankruptcy Rule 3001(c)(2)(A).


                                 Examples: Goodssold, moneyloaned, lease, services performed,personal injury orwrongful death,or credit card.
8. What is the basis of the
   claim?                        Attach redactedcopies of any documents supportingthe claim required by BankruptcyRule 3001(c).
                                 Limit disclosing information that isentitled toprivacy, such as healthcare information.
                                 ______________________________________________________________________________

8A. Alter Ego Claim Against      If you assert a claim against Ho Wan Kwok, you may also assert a claim against Genever Holdings Corporation and
    Genever Entities?            Genever Holdings LLC on the basis that these entities are alter egos of Ho Wan Kwok by checking the following box:
                                    <HV

9. Is all or part of the claim    No
   secured?                       Yes.   The claim is secured by a lien on property.
                                          Nature of property:
                                             Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                           Attachment (Official Form 410-A) with this Proof of Claim.
                                             Motor vehicle
                                             Other. Describe:           _____________________________________________________________



                                          Basis for perfection:         _____________________________________________________________
                                          Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                          example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                          been filed or recorded.)



                                          Value of property:                            $__________________
                                          Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                          Amount necessary to cure any default as of the date of the petition:          $____________________



                                          Annual Interest Rate (when case was filed)_______%
                                             Fixed
                                             Variable



10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.            $____________________


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                 Proof of Claim                                                          page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                                Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $* ofdeposits towardpurchase, lease, or rental ofproperty orservices for
   law limits the amount                      personal, family,or household use. 11 U.S.C. § 507(a)(7).                                $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $1,*) earnedwithin 180days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whicheveris earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts aresubject to adjustment on4/01/ and every3 years afterthatfor cases begun on orafter the date ofadjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                _______________________________________________________________________________________________
                                                         Number        Street

                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                               Email         ____________________________________




 Official Form 410                                                           Proof of Claim                                                                 page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                            12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                           A Proof of Claim form and any attached documents
                                                                      must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the            number, individual’s tax identification number, or
   date the case was filed.                                           financial account number, and only the year of any
                                                                      person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                    For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                   full name and address of the child’s parent or
   then state the identity of the last party who owned the            guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred           Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                      Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the      Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                   To receive confirmation that the claim has been filed, either
   definition of redaction on the next page.)
                                                                   enclose a stamped self-addressed envelope and a copy of this
   Also attach redacted copies of any documents that show          form or go to the court’s PACER system
   perfection of any security interest or any assignments or       (www.pacer.psc.uscourts.gov) to view the filed form.
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                   Understand the terms used in this form
                                                                   Administrative expense: Generally, an expense that arises
 Do not attach original documents because
   attachments may be destroyed after scanning.
                                                                   after a bankruptcy case is filed in connection with operating,
                                                                   liquidating, or distributing the bankruptcy estate.
                                                                   11 U.S.C. § 503.
 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care
   information. Leave out or redact confidential                   Claim: A creditor’s right to receive payment for a debt that the
   information both in the claim and in the attached               debtor owed on the date the debtor filed for bankruptcy. 11
   documents.                                                      U.S.C. §101 (5). A claim may be secured or unsecured.
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Creditor: A person, corporation, or other entity to whom a           5HGDFWLRQRILQIRUPDWLRQ0DVNLQJHGLWLQJRXWRUGHOHWLQJ
debtor owes a debt that was incurred on or before the date the       FHUWDLQLQIRUPDWLRQWRSURWHFWSULYDF\)LOHUVPXVWUHGDFWRU
debtor filed for bankruptcy. 11 U.S.C. §101 (10).                    OHDYHRXWLQIRUPDWLRQHQWLWOHGWRSULYDF\RQWKH3URRIRI
                                                                     &ODLPIRUPDQGDQ\DWWDFKHGGRFXPHQWV
Debtor: A person, corporation, or other entity who is in             Secured claim under 11 U.S.C. §506(a): A claim backed by
bankruptcy. Use the debtor’s name and case number as shown           a lien on particular property of the debtor. A claim is secured
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).         to the extent that a creditor has the right to be paid from the
                                                                     property before other creditors are paid. The amount of a
Evidence of perfection: Evidence of perfection of a security         secured claim usually cannot be more than the value of the
interest may include documents showing that a security               particular property on which the creditor has a lien. Any
interest has been filed or recorded, such as a mortgage, lien,       amount owed to a creditor that is more than the value of the
certificate of title, or financing statement.                        property normally may be an unsecured claim. But exceptions
                                                                     exist; for example, see 11 U.S.C. § 1322(b) and the final
                                                                     sentence of 1325(a).
Information that is entitled to privacy: A Proof of Claim
form and any attached documents must show only the last 4            Examples of liens on property include a mortgage on real
digits of any social security number, an individual’s tax            estate or a security interest in a car. A lien may be voluntarily
identification number, or a financial account number, only the       granted by a debtor or may be obtained through a court
initials of a minor’s name, and only the year of any person’s        proceeding. In some states, a court judgment may be a lien.
date of birth. If a claim is based on delivering health care
goods or services, limit the disclosure of the goods or services     Setoff: Occurs when a creditor pays itself with money
to avoid embarrassment or disclosure of confidential health          belonging to the debtor that it is holding, or by canceling a
care information. You may later be required to give more             debt it owes to the debtor.
information if the trustee or someone else in interest objects to
the claim.
                                                                     Uniform claim identifier: An optional 24-character identifier
                                                                     that some creditors use to facilitate electronic payment.
Priority claim: A claim within a category of unsecured
claims that is entitled to priority under 11 U.S.C. §507(a).
                                                                     Unsecured claim: A claim that does not meet the
These claims are paid from the available money or
                                                                     requirements of a secured claim. A claim may be unsecured in
property in a bankruptcy case before other unsecured
                                                                     part to the extent that the amount of the claim is more than the
claims are paid. Common priority unsecured claims
                                                                     value of the property on which a creditor has a lien.
include alimony, child support, taxes, and certain unpaid
wages.

                                                                     Offers to purchase a claim
Proof of claim: A form that shows the amount of debt the
debtor owed to a creditor on the date of the bankruptcy filing.      Certain entities purchase claims for an amount that is less than
The form must be filed in the district where the case is             the face value of the claims. These entities may contact
pending.                                                             creditors offering to purchase their claims. Some written
                                                                     communications from these entities may easily be confused
                                                                     with official court documentation or communications from the
$OWHU(JR&ODLPV,I\RXDVVHUWDFODLPDJDLQVW+R:DQ
                                                                     debtor. These entities do not represent the bankruptcy court,
.ZRN\RXPD\DOVRDVVHUWDFODLPDJDLQVW*HQHYHU+ROGLQJV
                                                                     the bankruptcy trustee, or the debtor. A creditor has no
&RUSRUDWLRQDQG*HQHYHU+ROGLQJV//& WKH*HQHYHU
                                                                     obligation to sell its claim. However, if a creditor decides to
'HEWRUV RQWKHEDVLVWKDWWKHVHHQWLWLHVDUHDOWHUHJRVRI+R
                                                                     sell its claim, any transfer of that claim is subject to
:DQ.ZRNE\FKHFNLQJWKHDSSOLFDEOHER[RQWKHSURRIRI
                                                                     Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
FODLPIRUP7KH7UXVWHHDQGWKH*HQHYHU'HEWRUVUHVHUYHDOO
                                                                     Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
ULJKWVLQUHJDUGWRDQ\VXFKDOWHUHJRFODLPVLQFOXGLQJRQWKH
                                                                     the bankruptcy court that apply.
EDVLVWKDWWKH7UXVWHHLVWKHRQO\SDUW\HQWLWOHGWRDVVHUWWKDW
WKH*HQHYHU'HEWRUVDUHRUZHUHDOWHUHJRVRIWKH,QGLYLGXDO
'HEWRU


Do not file these instructions with your form.
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                                     Annex III

                                 Publication Notice
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                                                UNITED STATES BANKRUPTCY COURT
                                                        DISTRICT OF CONNECTICUT
                                                            BRIDGEPORT DIVISION
---------------------------------------------------------------------------------X
                                                                                  :
In re:                                                                            : Chapter 11
           Ho Wan Kwok, et al.                                                    : Case No. 22-50073 (JAM)
                                     Debtors.1                                    : (Jointly Administered)
----------------------------------------------------------------------------------X

                                    NOTICE OF BAR DATES FOR FILING PROOFS OF CLAIM

PLEASE TAKE NOTICE THAT:

On February 15, 2022 (the “Individual Debtor Petition Date”), Mr. Ho Wan Kwok (the “Individual Debtor”) filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of Connecticut (the “Connecticut Bankruptcy Court”). On July 8, 2022, the Connecticut
Bankruptcy Court entered an order granting the appointment of Luc A. Despins as the chapter 11 trustee (the “Trustee”) in the
Individual Debtor’s chapter 11 case.

On October 12, 2020 (the “Genever (US) Petition Date”), Genever Holdings LLC (“Genever (US)”) filed its chapter 11 petition
in the United States Bankruptcy Court for the Southern District of New York (the “New York Bankruptcy Court”). On
November 3, 2022, the New York Bankruptcy Court entered an order transferring Genever (US)’s chapter 11 case to the
Connecticut Bankruptcy Court. Genever (US)’s only scheduled assets are a residence at the Sherry Netherland Hotel in New
York, New York, and a related security deposit for a total scheduled value of approximately $73 million.2

On October 11, 2022 (the “Genever (BVI) Petition Date” and, together with the Genever (US) Petition Date and the Individual
Debtor Petition Date, the “Petition Dates”), Genever Holdings Corporation (“Genever (BVI)” and, together with the Individual
Debtor and Genever (US), the “Debtors”) filed its chapter 11 petition in the Connecticut Bankruptcy Court. Genever (BVI)
wholly owns Genever (US).

On November [__], 2022, the Connecticut Bankruptcy Court entered an order (the “Bar Date Order”) establishing the following
deadlines to file proofs of claim against the Debtors in their chapter 11 cases (the “Chapter 11 Cases”):3

     1.   Prepetition Claims Against Individual Debtor: The last date and time for all persons and entities (including, without
          limitation, individuals, partnerships, corporations, joint ventures, trusts, and governmental units) to file a proof of
          claim (a “Proof of Claim”) in respect of any claim (as defined in the Bankruptcy Code) arising prior to the Individual
          Debtor Petition Date (i.e., February 15, 2022) against the Individual Debtor is January 13, 2023 at 11:59 p.m. (ET)
          (the “General Bar Date”).

     2.   Prepetition Claims Against Genever (US): The last date and time for all persons and entities (including, without
          limitation, individuals, partnerships, corporations, joint ventures, trusts, and governmental units) to file a Proof of
          Claim in respect of any claim (as defined in the Bankruptcy Code) arising prior to the Genever (US) Petition Date (i.e.,
          October 12, 2020) against Genever (US) is January 13, 2023 at 11:59 p.m. (ET), i.e., the General Bar Date.

     3.   Prepetition Claims Against Genever (BVI):

               a.    The last date and time for all persons and entities (including, without limitation, individuals, partnerships,
                     corporations, and joint ventures) other than governmental units to file a Proof of Claim in respect of any
                     claim (as defined in the Bankruptcy Code) arising prior to the Genever (BVI) Petition Date (i.e., October 10,
                     2022) against Genever (BVI) is January 13, 2023 at 11:59 p.m. (ET), i.e., the General Bar Date.

               b.    The last date and time for all governmental units to file a Proof of Claim in respect of any claim (as defined in
                     the Bankruptcy Code) arising prior to the Genever (BVI) Petition Date (i.e., October 10, 2022) against

1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles Kwok, as well as numerous other aliases) (last
     four digits of tax identification number: 9595), Genever Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings
     Corporation. The mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park Avenue,
     New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes of notices and communications).
2
     This amount does not reflect the fair market value of the Sherry Netherland apartment.
3
     The Connecticut Bankruptcy Court, upon motion by a creditor, may extend the time for filing Proofs of Claim after the applicable Bar Date to permit the
     filing of a late Proof of Claim.
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                  Genever (BVI) is April 10, 2023 at 11:59 p.m. (ET) (the “Governmental/Genever (BVI) Bar Date” and,
                  together with the General Bar Date, the “Bar Dates”).

On the Proof of Claim form, holders of claims against the Individual Debtor may elect to also assert their claim against Genever
(BVI) and Genever (US) (the “Genever Debtors”) on the basis that the Genever Debtors are or were alter egos of the Individual
Debtor. If the Genever Debtors are or were alter egos of the Individual Debtor, then a creditor of the Individual Debtor would
also be a creditor of the Genever Debtors, despite the absence of a direct contractual or other relationship between the creditor
and the Genever Debtors. To be clear, if you hold a claim against the Genever Debtors based on a direct contractual or other
relationship between the creditor and the Genever Debtors (i.e., in addition to a claim based on alter ego), you must file a
separate Proof of Claim against Genever (BVI) and/or Genever (US), as applicable.

The Trustee, Genever (BVI), and Genever (US) reserve all their rights to object to any claims based on an alter ego theory,
including on the basis that the Trustee is the only party entitled to assert that Genever (BVI) and Genever (US) are or were alter
egos of the Individual Debtor.

Copies of the Proof of Claim form may be viewed and downloaded free of charge on the Bankruptcy Court’s website located at
www.uscourts.gov/forms/bankruptcy-forms. Copies of the Bar Date Order may be obtained upon written request to counsel for
the Trustee at douglassbarron@paulhastings.com.

All Proofs of Claim must be filed so as to be received on or before the General Bar Date by the Connecticut Bankruptcy Court at
the following address:

                  US Bankruptcy Court
                  District of Connecticut
                  Brien McMahon Federal Building
                  915 Lafayette Boulevard
                  Bridgeport, CT 06604

All Proofs of Claim will be deemed filed only when actually received at the address listed above on or before the applicable Bar
Date. Alternatively, Proofs of Claim may be submitted electronically with the Connecticut Bankruptcy Court through the
Connecticut Bankruptcy Court’s website at http://www.ctb.uscourts.gov. Proofs of claim sent by fax or email will not be
accepted.

To be properly filed, each Proof of Claim must: (i) be written in the English language; (ii) be denominated in the lawful currency
of the United States as of the applicable Petition Date (using the exchange rate, if applicable, as of the applicable Petition Date);
(iii) conform substantially to the form of Proof of Claim attached to the Bar Date Order or the Official Bankruptcy Form 410;
and (iv) be signed by the claimant or, if the claimant is not an individual, by an authorized agent of the claimant.

Pursuant to Bankruptcy Rule 3003(c)(2), any holder of a claim who fails to timely file a Proof of Claim as provided herein shall
(a) be forever barred, estopped, and enjoined from asserting such claims against the Debtor, his property, or this estate (or from
submitting a Proof of Claim with respect thereto) and (b) not be treated as a creditor with respect to such claim for the purposes
of voting and distribution with respect to any chapter 11 plan or plans that may be filed in the Chapter 11 Cases.

If you require additional information regarding this Notice, you may contact the Trustee’s counsel at 1-212-318-6690 or submit
an inquiry via e-mail to douglassbarron@paulhastings.com. mailto:mujiinfo@donlinrecano.comIf you believe that you
hold a claim against the Debtors, you should consult an attorney if you have any questions regarding this Notice,
including whether you should file a Proof of Claim.




                                                                 2
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                                     Annex IV

                              Local Rule 3003-1 Notice
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         NOTICE OF DISPUTED, CONTINGENT, OR UNLIQUIDATED CLAIM
           AND NOTICE OF DEADLINE FOR FILING PROOF OF CLAIM

 To:   Claimant(s) Address(es)

       Debtor: [Ho Wan Kowk]
       Scheduled Claim Amount(s): $ ______                                       _
       Claim(s) Scheduled as: [disputed, contingent, or unliquidated, as applicable]

       Debtor: [Genever Holdings Corporation]
       Scheduled Claim Amount(s): $ ______
       Claim(s) Scheduled as: [disputed, contingent, or unliquidated, as applicable]

       Debtor: [Genever Holdings LLC]
       Scheduled Claim Amount(s): $ ______
       Claim(s) Scheduled as: [disputed, contingent, or unliquidated, as applicable]

1.     The Debtors (i.e., Ho Wan Kwok, Genever Holdings Corporation, and Genever
       Holdings LLC) scheduled your claim as indicated above. Any creditor (including
       governmental units) whose claim is scheduled as disputed, contingent, or
       unliquidated in the Debtors' Schedules filed on March 9, 2022 (ECF No. 78 in Case
       No. 22-50073 (JAM)), ________________, 2022 (ECF No. _ in Case No. 22-50542
       (JAM)), and November 3, 2020 (ECF No. 4 in Case No. 22-50592 (JAM))
       (collectively, the "Schedules"), must file a proof of claim by January 13, 2023,
       except that claims by governmental units against Genever Holdings Corporation may be
       filed until April 10, 2023. Pursuant to Federal Rule of Bankruptcy Procedure 3003(c)(2),
       any creditor required to file a proof of claim who fails to do so shall not be treated as a
       creditor with respect to such a claim for the purposes of voting on the Debtors' plan and for
       distributions to creditors.

2.     Creditors who have already filed claims need not file them again.

3.     A proof of claim form is enclosed with this notice.

4.     Counsel to the Trustee, counsel to Genever Holdings Corporation, and/or counsel to
       Genever Holdings LLC shall file this completed notice listing all those creditors whose
       claim was not scheduled or whose claim was scheduled as disputed, contingent, or
       unliquidated in the Schedules on or before seven business days after entry of the
       bar date order (ECF No. _) (the "Bar Date Order"). Counsel shall also serve this
       notice on all affected parties by First Class Mail, postage prepaid on or before seven (7)
       business days after entry of the Bar Date Order. Counsel shall file a Certificate of
       Service indicating such compliance on or before fourteen (14) business days after entry of
       the Bar Date Order.
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                                     Exhibit B

                            Proposed Order (Blackline)
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                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF CONNECTICUT
                                         BRIDGEPORT DIVISION
--------------------------------------------------------------------X
-----------------------------------------------------------
                                                      :
                                                      :
In re:                                                : Chapter 11
                                                      x
          Ho Wan Kwok,                                :
                                                      :
                                                      : Case No. 22-50073 (JAM)
                                 Debtor.1
                                                      :
HO WAN KWOK, et al.,1                                     (Jointly Administered)
                                                      :
                  Debtors.
                                                      :

                                                      :
-----------------------------------------------------------
                                                      x

--------------------------------------------------------------------XORDER ESTABLISHING
DEADLINES FOR FILING PROOFS OF
        CLAIM AND APPROVING FORM AND MANNER OF NOTICE THEREOF

         Upon the(i) the motion (the “Original Bar Date Motion”) filed by Ho Wan Kwok (the

“Individual Debtor”) for entry of an order setting bar dates for creditors to submit Proofs of

Claim in the Individual Debtor’s chapter 11 case and granting related relief and (ii) the

supplemental motion (the “Supplemental Motion” and, together with the Original Bar Date

Motion, the “Motion”)2 filed by the above-captioned debtorLuc Despins, in his capacity as the

1
    The Debtor is known by the following names: Guo Wengui; Miles Guo; Miles Kwok; and Ho Wan Kwok.
1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
  Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
  LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
  for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
  Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes
  of notices and communications).
2
    Capitalized terms used but not defined herein have the meanings ascribed to such terms in the Supplemental
  Motion. At the time of the filing of the Motion, the Debtor was the debtor in possession. On June 15, 2022, the
  Court entered a memorandum of decision and order [ECF No. 465] directing the United States Trustee to appoint a
  chapter 11 trustee in the Chapter 11 Case. Pursuant to that order, the United States Trustee selected Luc A. Despins
  as the chapter 11 trustee (the “Trustee”). On July 8, 2022, the Court entered an order granting the appointment of
  Luc A. Despins as the Trustee in the Chapter 11 Case [ECF No. 523].
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 chapter 11 trustee (the “DebtorTrustee”) appointed in thisthe chapter 11 case of Ho Wan Kwok

 (the “Chapter 11 Case”), Individual Debtor”), Genever Holdings Corporation (“Genever

 (BVI)”), and Genever Holdings LLC (“Genever (US)” and, together with the Trustee, the

 “Movants”), pursuant to section 502(b)(9) of title 11 of the United States Code (the “Bankruptcy

 Code”) and Rule 3003(c)(3) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

 Rules”), for entry of an order (this “Bar Date Order”) (a) setting bar dates for creditors to submit

 Proofs of Claim in thisthe Chapter 11 CaseCases, (b) approving procedures for submitting Proofs

 of Claim, (c) approving the form of Proof of Claim Form, and (d) approving the form of notice

 of the bar dates and manner of service thereof;, all as more fully set forth in the Supplemental

 Motion; and the Court having jurisdiction to consider the Motion and the relief requested therein

 in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

 from the United States District Court for the District of Connecticut (as amended); and the

 Trustee having been appointed in this Chapterthe Individual Debtor’s chapter 11 Casecase by

 order, dated July 8, 2022; and this Court having found that the Motion is a core proceeding

 pursuant to 28 U.S.C. § 157(b), and that the Trustee consentsMovants consent to entry of a final

 order under Article III of the United States Constitution; and this Court having found that venue

 of thisthe Chapter 11 CaseCases and the Motion in this district is proper pursuant to 28 U.S.C.

 §§ 1408 and 1409; and this Court having found that proper and adequate notice of the Motion

 has been given and that no other or further notice is necessary; and this Court having reviewed

 the Motion and having heard statements in support of the Motion at a hearing held before this

 Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

 in the Motion and at the Hearing establish just cause for the relief granted herein; and any

 objections to the relief requested herein having been withdrawn or overruled on the merits; and




                                                  2
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 after due deliberation thereon and good and sufficient cause appearing therefor, it is HEREBY

 ORDERED THAT:

         1.       The Motion is granted as provided herein.


         2.       Except as otherwise provided herein,


                  a.       all persons and entities (including, without limitation, individuals,
                           partnerships, corporations, joint ventures, trusts, and governmental units)
                           that assert a claim, as defined in section 101(5) of the Bankruptcy Code,
                           against the Individual Debtor or Genever (US)—which arose on or prior
                           to the filing of this Chaptereach such Debtors’ respective chapter 11 Case
                           cases3—shall file a proof of such claim in writing so that it is received on
                           or before October 28January 13, 20222023 at 11:59 p.m.
                           (ETprevailing Eastern Time) (the “General Bar Date”) or such other
                           later date fixed by the Court if a person or entity obtains leave of the Court
                           to assert a claim after the General Bar Date. ;4

                  b.       all persons and entities (including, without limitation, individuals,
                           partnerships, corporations, joint ventures, trusts, but excluding
                           governmental units) that assert a claim, as defined in section 101(5) of the
                           Bankruptcy Code, against Genever (BVI)—which arose on or prior to the
                           filing of Genever (BVI)’s chapter 11 case5—shall file a proof of such
                           claim in writing so that it is received on or before January 13, 2023 at
                           11:59 p.m. (prevailing Eastern Time), i.e., the General Bar Date, or such
                           other later date fixed by the Court if a person or entity obtains leave of the
                           Court to assert a claim after the General Bar Date; and

                  c.       all governmental units that assert a claim, as defined in section 101(5) of
                           the Bankruptcy Code, against Genever (BVI)—which arose on or prior to
                           the filing of Genever (BVI)’s chapter 11 case—shall file a proof of such
                           claim in writing so that it is received on or before April 10, 2023 at 11:59
                           p.m. (prevailing Eastern Time), (the “Governmental/Genever (BVI) Bar
                           Date” and, together with the General Bar Date, the “Bar Dates”).

         3.        The following procedures for the filing of Proofs of Claim shall apply:


                  a.       Proofs of Claim must: (i) be written in the English language; (ii) be
                           denominated in the lawful currency of the United States as of the
 3
     The Individual Debtor commenced his chapter 11 case on February 15, 2022, and Genever (US) commenced its
   chapter 11 case on October 12, 2020.
 4
     For the avoidance of doubt, the General Bar Date also applies to any claims by governmental units against the
   Individual Debtor and/or Genever (US).
 5
     Genever (BVI) commenced its chapter 11 case on October 11, 2022.


                                                         3
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                           applicable Petition Date (using the exchange rate, if applicable, as of the
                           applicable Petition Date); (iii) conform substantially to the Claim Form or
                           the Official Bankruptcy Form 410 (the “Official Form”);36 and (iv) be
                           signed by the claimant or, if the claimant is not an individual, by an
                           authorized agent of the claimant.

                  b.       All Proofs of Claim must be filed so as to be received on or before the
                           Generalapplicable Bar Date by the Bankruptcy Court at the following
                           address:

                                   US Bankruptcy Court
                                   District of Connecticut
                                   Brien McMahon Federal Building
                                   915 Lafayette Boulevard
                                   Bridgeport, CT 06604

                           A Proof of Claim is deemed to be timely filed only if it is actually
                           received by the Court by the Generalapplicable Bar Date. Alternatively,
                           Proofs of Claim may be submitted electronically with the
                           BankruptcyCourt through the Court.’s website at
                           http://www.ctb.uscourts.gov.7

                           Proofs of Claim may not be delivered by facsimile, telecopy, or
                           electronic mail transmission.

                  c.       Any person (including, without limitation, individuals, partnerships,
                           corporations, joint ventures, trusts, or governmental units) that asserts a
                           claim arising from the rejection of an executory contract or unexpired
                           lease must file a Proof of Claim based on such rejection by the later of (i)
                           the Generalapplicable Bar Date and (ii) the date that is thirty (30) days
                           after the entry of an order by the Court approving such rejection, or be
                           forever barred from so filing. Notwithstanding the foregoing, a party to an
                           executory contract or unexpired lease that asserts a claim on account of
                           unpaid amounts accrued and outstanding as of the applicable Petition
                           Date, pursuant to such executory contract or unexpired lease (other than a
                           claim for rejection damages), must file a Proof of Claim for such unpaid
                           amounts on or before the General Bar Date unless an exception identified
                           in subsection (e) below applies.

                  d.       If the Trustee amends or supplementsMovants amend or supplement the
                           Debtors’ Schedules of Assets and Liabilities (the “Schedules”) after the
                           Trustee’s counsel gives notice is given of the Generalapplicable Bar Date,

 36
      The Official Form can be found at www.uscourts.gov/forms/bankruptcy-forms on the official website for the
    United States Courts.
 7
     A login and password to the Court’s Public Access to Court Electronic Records (“PACER”) are required in
   order to access the Court’s website, and can be obtained through the PACER Service Center at
   http://www.pacer.gov.


                                                        4
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                        which is to be mailed under the terms of this Bar Date Order, then the
                        TrusteeMovants shall give notice of any amendment or supplement to the
                        holders of any claims affected thereby, and such holders shall have until
                        the later of (i) the Generalapplicable Bar Date and (ii) thirty (30) days
                        from the date of such notice to file a Proof of Claim, or be forever barred
                        from so filing; provided, however, that any holder of a claim listed on the
                        Schedules as disputed, contingent, or unliquidated shall have forty-five
                        (45) calendar days with respect to such claim affected by such amendment
                        as the bar date for filing a proof of claim.

                e.      The following persons are not required to file a Proof of Claim on or
                        before the Generalapplicable Bar Date, solely with respect to the claims
                        described below:

                        i.      any person whose claim is listed on the Schedules;, if (x) the claim
                                is not listed on the Schedules as disputed, contingent, or
                                unliquidated, and (y) the person does not dispute the amount,
                                nature, or priority of the claim as set forth in the Schedules;

                        ii.     any person whose claim has been paid in full;

                        iii.    a claim that has been allowed by an order of this Court entered on
                                or before the Generalapplicable Bar Date;

                        iv.     a claim for which a separate deadline has been fixed by this Court;

                        v.      any person that already has filed a Proof of Claim against the
                                DebtorDebtors in thisthe Chapter 11 CaseCases in a form that is
                                substantially similar to the Official Form; or

                        vi.     any person not required to file a proof of claim pursuant to any
                                order of this Court.

        4.      Pursuant to Bankruptcy Rule 3003(c)(2), any holder of a claim who fails to timely

 file a Proof of Claim as provided herein shall (a) be forever barred, estopped, and enjoined from

 asserting such claims against the DebtorDebtors, histheir property, or this estatetheir estates (or

 from submitting a Proof of Claim with respect thereto) and (b) not be treated as a creditor with

 respect to such claim for the purposes of voting and distribution with respect to any chapter 11

 plan or plans of reorganization that may be filed in thisthe Chapter 11 CaseCases.




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        5.      The (a) proposed notice of the Bar Dates, substantially in the form annexed hereto

 as Annex I (the “Bar Date Notice”), (b) the proposed form for Proofs of Claim (the “Claim

 Form”), substantially in the form annexed hereto as Annex II, and (c) the proposed form of

 publication notice (the “Publication Notice”), substantially in the form annexed hereto as Annex

 III, are approved.


        6.      On the Claim Form, holders of claims against the Individual Debtor may elect to

 also assert their claim against Genever (BVI) and Genever (US) on the basis that Genever (BVI)

 and Genever (US) are or were alter egos of the Individual Debtor. To be clear, the Trustee,

 Genever (BVI), and Genever (US) reserve all their rights to object to any such claims, including

 on the basis that the Trustee is the only party entitled to assert that Genever (BVI) and Genever

 (US) are or were alter egos of the Individual Debtor. For the avoidance of doubt, any creditor of

 the Individual Debtor that has a separate claim against Genever (BVI) and/or Genever (US) (i.e.,

 in addition to a claim based on alter ego) must file a separate Proof of Claim against Genever

 (BVI) and/or Genever (US), as applicable.


        7.      6. The following procedures are approved with respect to notice of the Bar Dates:


                Within seven (7) business days after entry of this Bar Date Order, the
                TrusteeMovants shall cause to be mailed (i) the Claim Form and (ii) the Bar Date
                Notice to the following parties:

                         i.      the United States Trustee;

                         ii.     counsel to the Committee and counsel to any examiner appointed
                                 as as of the date of entry of the Bar Date Order;

                         iii.    all known holders of claims listed on the Schedules at the
                                 addresses stated therein or as updated pursuant to a request made
                                 to the TrusteeMovants by any such creditor or by returned mail
                                 from the post office with a forwarding address; provided, however,
                                 that all holders of claims listed as disputed, contingent, or


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                                      unliquidated in the DebtorDebtors’s Schedules shall also be served
                                      with a Notice of Disputed, Contingent, or Unliquidated Claim and
                                      Notice of Deadline For Filing Proof of Claim pursuant to Local
                                      Rule 3003-1 and the Court’s Order and Notice to Disputed,
                                      Contingent and Unliquidated Creditors (Appendix K),
                                      substantially in the form attached hereto as Annex IV (the “Local
                                      Rule 3003-1 Notice”);

                              iv.     all parties actually known to the TrusteeMovants as having
                                      potential claims against the DebtorDebtors;

                              v.      all counterparties to the DebtorDebtors’s executory contracts and
                                      unexpired leases listed on the Schedules at the addresses stated
                                      therein or as updated pursuant to a request made to the
                                      TrusteeMovants by any such counterparty or by returned mail from
                                      the post office with a forwarding address;

                              vi.     the attorneys of record to all parties to pending litigation against
                                      the Debtor (as of the date of entry of the Bar Date Order);48

                              vii.    the Internal Revenue Service, the Securities and Exchange
                                      Commission, the attorneys general for the states of Connecticut
                                      and New York, and local taxing authorities in Connecticut and
                                      New York;

                              viii.   all persons or entities that have filed claims in thisthe Chapter 11
                                      CaseCases (as of the date of entry of the Bar Date Order);

                              ix.     all parties who have sent correspondence to the Court and that are
                                      listed on the Court’s electronic docket for thisthese Chapter 11
                                      CaseCases (as of the date of entry of the Bar Date Order);

                              x.      all parties who have sent correspondence to the Trustee regarding
                                      assets of, or claims against, the EstateDebtors’ estates.

                              xi.     all parties who have requested notice pursuant to Bankruptcy Rule
                                      2002 in thisthe Chapter 11 CaseCases (as of the date of entry of the
                                      Bar Date Order); and

                              xii.    such additional persons and entities as deemed appropriate by the
                                      TrusteeMovants.

            8.       7. The TrusteeMovants shall cause the Publication Notice to be published on one

 occasion in each of the following newspapers:

 48
       The Debtor shall provide the Trustee with such information within 2 business days of entry of this Bar Date
      Order.


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                a. the USA Today;

                b. Sing Tao USA (with the Publication Notice translated into Mandarin); and

                c. The World Journal (with the Publication Notice translated into Mandarin).

 with such publication to occur no later than ten (10) business days after the entry of this Bar Date

 Order.

          8.       The Debtor shall cause the Publication Notice to be posted, no later than seven

 business days after entry of this Bar Date Order, and at no expense to the Trustee or the Estate,

 (a) on his social media account on GETTR (i.e., the account known as @Miles), for a continuous

 period of no less than 48 hours and (b) on the homepage of GNews.org, for a continuous period

 of no less than 24 hours, for a continuous period of no less than 48 hours, in each case without

 modifying, in any way, the Bar Date notice and without adding any commentary with respect to

 such posting, whether such commentary is part of the same posting or added in any subsequent

 postings by, or at the direction of, the Debtor.

          9.       The Trustee isMovants are authorized and empowered to take such steps and

 perform such acts as may be necessary to implement and effectuate the terms of this Bar Date

 Order.


          10.      Notification of the relief granted by this Bar Date Order as provided herein is fair

 and reasonable and will provide good, sufficient, and proper notice to all of the DebtorDebtors’s

 creditors of their rights and obligations in connection with any potential claims that they may

 have against the DebtorDebtors in thisthe Chapter 11 CaseCases.


          11.      Nothing in this Bar Date Order shall prejudice the right of the TrusteeMovants or

 any other party in interest to dispute or assert any setoffs or defenses to any claim that may be

 filed in thisthe Chapter 11 CaseCases, reflected in the Schedules, or otherwise.


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           12.   Entry of this Bar Date Order is without prejudice to the right of the

 TrusteeMovants to seek a further order of this Court fixing the deadline by which holders of

 claims not subject to the Bar Dates established herein must file Proofs of Claim or assert such

 claims by way of motion or application against the DebtorDebtors or be forever barred from so

 filing.


           13.   This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to this Order.


Dated: ______________, 2022
       Bridgeport, Connecticut                     UNITED STATES BANKRUPTCY JUDGE




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                                    Annex I

                                Bar Date Notice
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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT

                                          BRIDGEPORT DIVISION
 --------------------------------------------------------------------X
 -----------------------------------------------------------
                                                       :
                                                       :
                                                       :
                                                           Chapter 11
 In re:                                                x
                                                       :
                                                       :
           Ho Wan Kwok,                                :

                                                              Case No. 22-50073 (JAM)
                                                      :
                                 Debtor.1

                                                      :
                                                              (Jointly Administered)
 HO WAN KWOK, et al.,1
                                                      :
                  Debtors.

                                                       :
 ----------------------------------------------------------
                                                       x


 --------------------------------------------------------------------XNOTICE OF DEADLINES
 REQUIRING THE FILING OF PROOFS OF CLAIM TO ALL PERSONS WITH
 CLAIMS AGAINST THE DEBTOR DEBTORS

 TO:     ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST (A) HO
         WAN KWOK, A.K.A. GUO WENGUI, A.K.A. MILES KWOK   , (B)
         GENEVER HOLDINGS CORPORATION, AND/OR (C) GENEVER HOLDINGS
         LLC



 1
     Although the Debtor’s legal name is Ho Wan Kwok, he is also known by the following names: Guo Wengui;
   Miles Guo; and Miles Kwok.
 1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
   Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever Holdings
   LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The mailing address
   for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park
   Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for
   purposes of notices and communications).
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         On February 15, 2022 (the “Individual Debtor Petition Date”), Mr. Ho Wan Kwok (the
 “Individual Debtor”) filed a voluntary petition for relief under chapter 11 of title 11 of the United
 States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
 Connecticut (the “Connecticut Bankruptcy Court”). On July 8, 2022, the Connecticut
 Bankruptcy Court entered an order granting the appointment of Luc A. Despins as the chapter 11
 trustee (the “Trustee”) in the Individual Debtor’s chapter 11 case (the “Chapter 11 Case”).

         On August

        On October 12, 2020 (the “Genever (US) Petition Date”), Genever Holdings LLC
 (“Genever (US)”) filed its chapter 11 petition in the United States Bankruptcy Court for the
 Southern District of New York (the “New York Bankruptcy Court”). On November 3, 2022, the
 New York Bankruptcy Court entered an order transferring Genever (US)’s chapter 11 case to the
 Connecticut Bankruptcy Court. Genever (US)’s only scheduled assets are a residence at the
 Sherry Netherland Hotel in New York, New York, and a related security deposit for a total
 scheduled value of approximately $73 million.2

        On October 11, 2022 (the “Genever (BVI) Petition Date” and, together with the Genever
 (US) Petition Date and the Individual Debtor Petition Date, the “Petition Dates”), Genever
 Holdings Corporation (“Genever (BVI)”) filed its chapter 11 petition in the Connecticut
 Bankruptcy Court. Genever (BVI) wholly owns Genever (US).

       By order dated November [__], 2022, the chapter 11 cases of the Individual Debtor,
 Genever (US), and Genever (BVI) are jointly administered for procedural purposes only.

        On November [__], 2022, the Connecticut Bankruptcy Court entered an order (the “Bar
 Date Order”) establishing October 28, 2022 at 11:59 p.m. (ET)the following deadlines to file
 proofs of claim against the Debtors in their chapter 11 cases (the “General Bar Date”) as
 theChapter 11 Cases”):3

     1. Prepetition Claims Against Individual Debtor: The last date and time for each person or
        entity (each as defined in the Bankruptcy Code), includingall persons and entities
        (including, without limitation, individuals, partnerships, corporations, joint ventures,
        trusts, and governmental units (as defined in the Bankruptcy Code) to file a proof of
        claim (each, a “Proof of Claim,” and collectively, the “Proofs of Claim”) in respect of
        any prepetition claim (as defined in the Bankruptcy Code) againstarising prior to the
        Individual Debtor in the Chapter 11 Case.2Petition Date (i.e., February 15, 2022) against
        the Individual Debtor is January 13, 2023 at 11:59 p.m. (prevailing Eastern Time)
        (the “General Bar Date”).4

 2
     This amount does not reflect the fair market value of the Sherry Netherland apartment.
 3
     The Connecticut Bankruptcy Court, upon motion by a creditor, may extend the time for filing Proofs of Claim
   after the applicable Bar Date to permit the filing of a late Proof of Claim.
 2
     The Bankruptcy Court, upon motion by a creditor, may extend the time for filing Proofs of Claim after the
   General Bar Date to permit the filing of a late Proof of Claim.
 4
     For the avoidance of doubt, the General Bar Date also applies to any claims by governmental units against the
   Individual Debtor and/or Genever (US).


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        The General Bar Date

    2. Prepetition Claims Against Genever (US): The last date and time for all persons and
       entities (including, without limitation, individuals, partnerships, corporations, joint
       ventures, trusts, and governmental units) to file a Proof of Claim in respect of any claim
       (as defined in the Bankruptcy Code) arising prior to the Genever (US) Petition Date (i.e.,
       October 12, 2020) against Genever (US) is January 13, 2023 at 11:59 p.m. (prevailing
       Eastern Time), i.e., the General Bar Date.

    3. Prepetition Claims Against Genever (BVI):

            a. The last date and time for all persons and entities (including, without limitation,
               individuals, partnerships, corporations, and joint ventures) other than
               governmental units to file a Proof of Claim in respect of any claim (as defined in
               the Bankruptcy Code) arising prior to the Genever (BVI) Petition Date (i.e.,
               October 10, 2022) against Genever (BVI) is January 13, 2023 at 11:59 p.m.
               (prevailing Eastern Time), i.e., the General Bar Date.

            b. The last date and time for all governmental units to file a Proof of Claim in
               respect of any claim (as defined in the Bankruptcy Code) arising prior to the
               Genever (BVI) Petition Date (i.e., October 10, 2022) against Genever (BVI) is
               April 10, 2023 at 11:59 p.m. (prevailing Eastern Time) (the
               “Governmental/Genever (BVI) Bar Date” and, together with the General Bar
               Date, the “Bar Dates”).

         The Bar Dates and the procedures set forth below for filing Proofs of Claim (the
 “Procedures”) apply to all claims, excluding prepetition Claimsclaims arising under section
 503(b)(9) of the Bankruptcy Code, against the DebtorDebtors that arose before the applicable
 Petition Date, i.e., February 15, 2022 (i.e., the Petition Date). .

         On the Proof of Claim form, holders of claims against the Individual Debtor may elect to
 also assert their claim against Genever (BVI) and Genever (US) (the “Genever Debtors”) on the
 basis that the Genever Debtors are or were alter egos of the Individual Debtor. If the Genever
 Debtors are or were alter egos of the Individual Debtor, then a creditor of the Individual Debtor
 would also be a creditor of the Genever Debtors, despite the absence of a direct contractual or
 other relationship between the creditor and the Genever Debtors. To be clear, if you hold a
 claim against the Genever Debtors based on a direct contractual or other relationship between the
 creditor and the Genever Debtors (i.e., in addition to a claim based on alter ego), you must file a
 separate Proof of Claim against Genever (BVI) and/or Genever (US), as applicable.

         Generally, when analyzing alter ego claims, courts look to (1) whether the relevant
 entities/persons operated as a single economic unit and (2) whether there was an overall element
 of injustice or unfairness in maintaining the separateness between the Individual Debtor and the
 Genever Debtors. In analyzing these issues, courts generally consider a number of factors,
 including whether the entity that is the alleged alter ego entity was adequately capitalized,
 observed corporate formalities, and/or was a façade for the person in control of the alter ego


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 entity. To be clear, the foregoing list of factors is not exhaustive and no single factor is
 dispositive. You should consult your attorney regarding these matters.

         The Trustee, Genever (BVI), and Genever (US) reserve all their rights to object to any
 claims based on an alter ego theory, including on the basis that the Trustee is the only party
 entitled to assert that Genever (BVI) and Genever (US) are or were alter egos of the Individual
 Debtor.

        1.      WHO MUST FILE A PROOF OF CLAIM

         You must file a Proof of Claim in order to vote on a chapter 11 plan filed by the
 DebtorDebtors or to be able to share in distributions from the DebtorDebtors’s estate estates if
 you have a claim that arose before the applicable Petition Date, and it is not one of the types of
 claims described in section 4 below. Claims based on acts or omissions of the DebtorDebtors
 that occurred before the Petition Date must be filed on or before the Generalapplicable Bar Date,
 even if such claims are not now fixed, liquidated, or certain or did not mature or become fixed,
 liquidated, or certain before the applicable Petition Date.

          Under section 101(5) of the Bankruptcy Code and as used in this notice, the word
 “claim” means a right to (a) payment, whether such right is reduced to judgment, liquidated,
 unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
 secured, or unsecured; or (b) an equitable remedy for breach of performance if such breach gives
 rise to a right to payment, whether such right to an equitable remedy is reduced to judgment,
 fixed, contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.

        2.      WHAT TO FILE

        Enclosed with this notice is a Proof of Claim form for use in thisthe Chapter 11
 CaseCases. You may utilize the Proof of Claim form(s) enclosed with this notice in order to file
 your claim(s). Additional Proof of Claim forms and instructions may be obtained on the
 Connecticut Bankruptcy Court’s website located at www.uscourts.gov/forms/bankruptcy-forms.

         All Proofs of Claim must be signed by the claimant or, if the claimant is not an
 individual, by an authorized agent of the claimant. All Proofs of Claim must be written in
 English and be denominated in United States currency (using the exchange rate, if applicable, as
 of the Petition Date). You may attach to your completed Proof of Claim any documents on which
 such claim is based.

          All Proofs of Claim must not contain complete social security numbers or taxpayer
 identification numbers (include only the last four (4) digits of such numbers), complete birth
 dates (include only the relevant year), the names of any minors (include only such minors’
 initials), or financial account numbers (include only the last four (4) digits of such numbers).




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            3.      WHEN AND WHERE TO FILE

        All Proofs of Claim must be filed so as to be received on or before October 28, 2022 at
 11:59 p.m. (ET)the applicable Bar Date by the Connecticut Bankruptcy Court at the following
 address:

            US Bankruptcy Court
            District of Connecticut

            Brien McMahon Federal Building

            915 Lafayette Boulevard

            Bridgeport, CT 06604

         All Proofs of Claim will be deemed filed only when actually received at the address
 listed above on or before the Generalapplicable Bar Date. Alternatively, Proofs of Claim may be
 submitted electronically with the Connecticut Bankruptcy Court. through the Connecticut
 Bankruptcy Court’s website at http://www.ctb.uscourts.gov.5

 PROOFS OF CLAIM MAY NOT BE DELIVERED BY FACSIMILE, TELECOPY, OR
 ELECTRONIC MAIL TRANSMISSION.

            4.      WHO DOES NOT NEED TO FILE A PROOF OF CLAIM

 You do not need to file a Proof of Claim on or before the General Bar Date if you are:

                    a.       any person whose claim is listed on the Schedules;, if (x) the claim is not
                             listed on the Schedules as disputed, contingent, or unliquidated, and (y)
                             the person does not dispute the amount, nature, or priority of the claim as
                             set forth in the Schedules;

                    b.       any person whose claim has been paid in full;

                    c.       a claim that has been allowed by an order of this Court entered on or
                             before the General Bar Date;

                    d.       a claim for which a separate deadline has been fixed by this Court;

                    e.       any person that already has filed a Proof of Claim against the
                             DebtorDebtors in thisthe Chapter 11 CaseCases in a form that is
                             substantially similar to the Official Form; or


 5
       A login and password to the Connecticut Bankruptcy Court’s Public Access to Court Electronic Records
     (“PACER”) are required in order to access the Connecticut Bankruptcy Court’s website, and can be obtained
     through the PACER Service Center at http://www.pacer.gov.


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                f.      any person not required to file a proof of claim pursuant to any order of
                        the Connecticut Bankruptcy Court.

         This notice may be sent to many persons that have had some relationship with or have
 done some business with the DebtorDebtors, but that may not have an unpaid claim against any
 of the DebtorDebtors. The fact that you have received this notice does not mean that you have a
 claim against any of the DebtorDebtors or that the Connecticut Bankruptcy Court, the Trustee, or
 the DebtorDebtors believe that you have a claim against any of the DebtorDebtors.

        5.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         If you hold a claim arising from the rejection of an executory contract or unexpired lease
 you must file a Proof of Claim based on such rejection by the later of (i) the Generalapplicable
 Bar Date and (ii) the date that is thirty (30) days after entry of an order by the Connecticut
 Bankruptcy Court approving such rejection. Notwithstanding the foregoing, a party to an
 executory contract or unexpired lease that asserts a claim on account of unpaid amounts accrued
 and outstanding as of the applicable Petition Date pursuant to such executory contract or
 unexpired lease (other than a claim for rejection damages) must file a Proof of Claim for such
 amounts on or before the General Bar Date, unless an exception identified in section 4 above
 applies.

        6.      CONSEQUENCES OF THE FAILURE TO FILE A PROOF OF CLAIM BY
                THE GENERALAPPLICABLE BAR DATE

      ANY HOLDER OF A CLAIM THAT IS NOT EXEMPTED FROM THE
 REQUIREMENTS OF THE BAR DATE ORDER, AS SET FORTH IN FULL IN SECTION 4
 ABOVE, AND THAT FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE
 APPROPRIATE FORM SHALL NOT BE TREATED AS A CREDITOR WITH RESPECT TO
 SUCH ALLEGED CLAIM FOR THE PURPOSES OF VOTING ON ANY PLAN OF
 REORGANIZATION FILED IN THISTHE CHAPTER 11 CASECASES AND FOR
 PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORDEBTORS’S CHAPTER 11
 CASE ON ACCOUNT OF SUCH ALLEGED CLAIM.

       PURSUANT TO BANKRUPTCY RULE 3003(c)(2), ANY HOLDER OF A CLAIM
 WHO FAILS TO TIMELY FILE A PROOF OF CLAIM AS PROVIDED HEREIN SHALL (A)
 BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM ASSERTING SUCH
 CLAIMS AGAINST THE DEBTORDEBTORS, HISTHEIR PROPERTY, OR THISTHEIR
 ESTATE (OR FROM SUBMITTING A PROOF OF CLAIM WITH RESPECT THERETO)
 AND (B) NOT BE TREATED AS A CREDITOR WITH RESPECT TO SUCH CLAIM FOR
 THE PURPOSES OF VOTING AND DISTRIBUTION WITH RESPECT TO ANY CHAPTER
 11 PLAN OR PLANS OF REORGANIZATION THAT MAY BE FILED IN THISTHESE
 CHAPTER 11 CASECASES.

      THE CONNECTICUT BANKRUPTCY COURT, UPON MOTION BY A CREDITOR,
 MAY EXTEND THE TIME FOR FILING PROOFS OF CLAIM AFTER THE




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 GENERALAPPLICABLE BAR DATE TO PERMIT THE FILING OF A LATE PROOF OF
 CLAIM.

        7.      THE DEBTORDEBTORS’S SCHEDULES AND ACCESS THERETO

       You may be listed as a holder of a claim against the DebtorDebtors on the
 DebtorDebtors’s Schedules.

          To determine if and how you are listed on the Schedules, please refer to the descriptions
 set forth on the enclosed Proof of Claim form(s) regarding the nature, amount, and status of your
 claim(s). If you received post-petition payments from the Debtor (as authorized by the
 Bankruptcy Court) on account of your claim(s), then the enclosed Proof of Claim form(s) should
 reflect the net amount of your claim(s).

   As set forth above, if you agree with the nature, amount, and status of your claim as listed on
 the applicable Debtor’s Schedules, and if your claim is not described as disputed, contingent, or
 unliquidated, then you need not (but still may) file a Proof of Claim. Otherwise, or if you decide
 to file a Proof of Claim, then you must do so before the Generalapplicable Bar Date, in
 accordance with the Procedures as set forth in this notice.

         Copies of the DebtorDebtors’s Schedules are available for inspection on the Connecticut
 Bankruptcy Court’s electronic docket for the Debtor’s Chapter 11 CaseCases, which may be
 accessed through the Connecticut Bankruptcy Court’s website at http://www.ctb.uscourts.gov. A
 login and password to the Connecticut Bankruptcy Court’s Public Access to Court Electronic
 Records (“PACER”) are required in order to access this information through the Connecticut
 Bankruptcy Court’s website, and can be obtained through the PACER Service Center at
 http://www.pacer.gov. Copies of the DebtorDebtors’s Schedules also may be examined between
 the hours of 9:00 a.m. and 4:30 p.m. (Eastern Time), Monday through Friday at the Office of the
 Clerk of the Connecticut Bankruptcy Court, located at:

        Brien McMahon Federal Building

        915 Lafayette Boulevard

        Bridgeport, CT 06604

 A HOLDER OF A POTENTIAL CLAIM AGAINST ANY OF THE DEBTORDEBTORS
 SHOULD CONSULT AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY
 THIS NOTICE, SUCH AS WHETHER THE HOLDER OF SUCH A POTENTIAL CLAIM
 SHOULD FILE A PROOF OF CLAIM.

 8.     ADDITIONAL INFORMATION

        If you require additional information regarding this Notice, you may contact the
 Trustee’s counsel at 1-212-318-6690 or submit an inquiry via e-mail to
 douglassbarron@paulhastings.com. If you believe that you hold a claim against the Debtors,



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 you should consult an attorney if you have any questions regarding this Notice, including
 whether you should file a Proof of Claim.



 Dated: ________, 2022                           Patrick R. Linsey (ct29437)

                                                 NEUBERT, PEPE & MONTEITH, P.C.
                                                 195 Church Street, 13th Floor
                                                 New Haven, Connecticut 06510
                                                 (203) 781-2847
                                                 plinsey@npmlaw.com



                                                      and



                                                 Nicholas A. Bassett (pro hac vice)
                                                 PAUL HASTINGS LLP
                                                 2050 M Street NW
                                                 Washington, D.C., 20036
                                                 (202) 551-1902
                                                 nicholasbassett@paulhastings.com



                                                      and



                                                 Avram E. Luft (pro hac vice)
                                                 Douglass Barron (pro hac vice)
                                                 PAUL HASTINGS LLP
                                                 200 Park Avenue
                                                 New York, New York 10166
                                                 (212) 318-6079
                                                 aviluft@paulhastings.com



                                                 [Proposed] Counsel for the Chapter 11 Trustee




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GENEVER HOLDINGS LLC                              LUC A. DESPINS, CHAPTER 11 TRUSTEE



By: _______________                               By: _______________

   Douglas S. Skalka (ct00616)                         Douglas S. Skalka (ct00616)

   Patrick R. Linsey (ct29437)                         Patrick R. Linsey (ct29437)

   NEUBERT, PEPE & MONTEITH, P.C.                      NEUBERT, PEPE & MONTEITH, P.C.

   195 Church Street, 13th Floor                       195 Church Street, 13th Floor

   New Haven, Connecticut 06510                        New Haven, Connecticut 06510

   (203) 781-2847                                      (203) 781-2847

   dskalka@npmlaw.com                                  dskalka@npmlaw.com

   plinsey@npmlaw.com                                  plinsey@npmlaw.com



      and                                                 and



   Kevin J. Nash, Esq.                                 Nicholas A. Bassett (pro hac vice)

   GOLDBERG WEPRIN FINKEL                              PAUL HASTINGS LLP
   GOLDSTEIN LLP
                                                       2050 M Street NW
   1501 Broadway, 22nd Floor
                                                       Washington, D.C., 20036
   New York, New York 10036
                                                       (202) 551-1902
   (212) 221-5700
                                                       nicholasbassett@paulhastings.com


Counsel for Genever Holdings LLC
                                                          and
Debtor and Debtor-in-Possession




                                                  9
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                                                     Douglass Barron (pro hac vice)

GENEVER HOLDINGS CORPORATION                         PAUL HASTINGS LLP

By: _______________                                  200 Park Avenue

   Douglas S. Skalka (ct00616)                       New York, New York 10166

   Patrick R. Linsey (ct29437)                       (212) 318-6079

   NEUBERT, PEPE & MONTEITH, P.C.                    douglassbarron@paulhastings.com

   195 Church Street, 13th Floor

   New Haven, Connecticut 06510                   Counsel for the Chapter 11 Trustee

   (203) 781-2847

   dskalka@npmlaw.com

   plinsey@npmlaw.com



Counsel for Genever Holdings Corporation

Debtor and Debtor-in-Possession




                                              10
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                                     Annex II

                                    Claim Form
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  Fill in this information to identify the case:

  Debtor
                 _________________________________________________________________




  United States Bankruptcy Court for the District of Connecticut

  Case number     ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                  22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:     Identify the Claim

1. Who is the current
   creditor?                       ___________________________________________________________________________________________________________
                                   Name of the current creditor (the person or entity to be paid for this claim)

                                   Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                      No
   someone else?                      Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices            Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                         different)
   creditor be sent?
                                   _____________________________________________________                       _____________________________________________________
   Federal Rule of                 Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                  ______________________________________________________                      ______________________________________________________
                                   Number      Street                                                          Number      Street

                                   ______________________________________________________                      ______________________________________________________
                                   City                       State             ZIP Code                       City                       State             ZIP Code

                                   Contact phone    ________________________                                   Contact phone   ________________________

                                   Contact email     ________________________                                  Contact email   ________________________



                                   Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                   __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              No
   one already filed?
                                      Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                MM / DD       / YYYY



5. Do you know if anyone              No
   else has filed a proof             Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                          Proof of Claim                                                             page 1
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:   ____ ____ ____ ____
   debtor?



7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                             No
                                                                             Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                   charges required by Bankruptcy Rule 3001(c)(2)(A).


                                 Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
8. What is the basis of the
   claim?                        Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.
                                 ______________________________________________________________________________

8A. Alter Ego Claim Against      If you assert a claim against Ho Wan Kwok, you may also assert a claim against Genever Holdings Corporation and
    Genever Entities?            Genever Holdings LLC on the basis that these entities are alter egos of Ho Wan Kwok by checking the following box:
                                      Yes.

9. Is all or part of the claim    No
   secured?                       Yes.   The claim is secured by a lien on property.
                                          Nature of property:
                                             Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                           Attachment (Official Form 410-A) with this Proof of Claim.
                                             Motor vehicle
                                             Other. Describe:           _____________________________________________________________



                                          Basis for perfection:         _____________________________________________________________
                                          Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                          example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                          been filed or recorded.)



                                          Value of property:                            $__________________
                                          Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                          Amount necessary to cure any default as of the date of the petition:          $____________________



                                          Annual Interest Rate (when case was filed)_______%
                                             Fixed
                                             Variable



10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.            $____________________


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                 Proof of Claim                                                          page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $33* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $15,1*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                _______________________________________________________________________________________________
                                                         Number        Street

                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                              Email         ____________________________________




 Official Form 410                                                           Proof of Claim                                                                page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                            12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                           A Proof of Claim form and any attached documents
                                                                      must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the            number, individual’s tax identification number, or
   date the case was filed.                                           financial account number, and only the year of any
                                                                      person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                    For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                   full name and address of the child’s parent or
   then state the identity of the last party who owned the            guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred           Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                      Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the      Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                   To receive confirmation that the claim has been filed, either
   definition of redaction on the next page.)
                                                                   enclose a stamped self-addressed envelope and a copy of this
   Also attach redacted copies of any documents that show          form or go to the court’s PACER system
   perfection of any security interest or any assignments or       (www.pacer.psc.uscourts.gov) to view the filed form.
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                   Understand the terms used in this form
                                                                   Administrative expense: Generally, an expense that arises
 Do not attach original documents because
   attachments may be destroyed after scanning.
                                                                   after a bankruptcy case is filed in connection with operating,
                                                                   liquidating, or distributing the bankruptcy estate.
                                                                   11 U.S.C. § 503.
 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care
   information. Leave out or redact confidential                   Claim: A creditor’s right to receive payment for a debt that the
   information both in the claim and in the attached               debtor owed on the date the debtor filed for bankruptcy. 11
   documents.                                                      U.S.C. §101 (5). A claim may be secured or unsecured.
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Creditor: A person, corporation, or other entity to whom a           Redaction of information: Masking, editing out, or deleting
debtor owes a debt that was incurred on or before the date the       certain information to protect privacy. Filers must redact or
debtor filed for bankruptcy. 11 U.S.C. §101 (10).                    leave out information entitled to privacy on the Proof of
                                                                     Claim form and any attached documents.
Debtor: A person, corporation, or other entity who is in             Secured claim under 11 U.S.C. §506(a): A claim backed by
bankruptcy. Use the debtor’s name and case number as shown           a lien on particular property of the debtor. A claim is secured
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).         to the extent that a creditor has the right to be paid from the
                                                                     property before other creditors are paid. The amount of a
Evidence of perfection: Evidence of perfection of a security         secured claim usually cannot be more than the value of the
interest may include documents showing that a security               particular property on which the creditor has a lien. Any
interest has been filed or recorded, such as a mortgage, lien,       amount owed to a creditor that is more than the value of the
certificate of title, or financing statement.                        property normally may be an unsecured claim. But exceptions
                                                                     exist; for example, see 11 U.S.C. § 1322(b) and the final
                                                                     sentence of 1325(a).
Information that is entitled to privacy: A Proof of Claim
form and any attached documents must show only the last 4            Examples of liens on property include a mortgage on real
digits of any social security number, an individual’s tax            estate or a security interest in a car. A lien may be voluntarily
identification number, or a financial account number, only the       granted by a debtor or may be obtained through a court
initials of a minor’s name, and only the year of any person’s        proceeding. In some states, a court judgment may be a lien.
date of birth. If a claim is based on delivering health care
goods or services, limit the disclosure of the goods or services     Setoff: Occurs when a creditor pays itself with money
to avoid embarrassment or disclosure of confidential health          belonging to the debtor that it is holding, or by canceling a
care information. You may later be required to give more             debt it owes to the debtor.
information if the trustee or someone else in interest objects to
the claim.
                                                                     Uniform claim identifier: An optional 24-character identifier
                                                                     that some creditors use to facilitate electronic payment.
Priority claim: A claim within a category of unsecured
claims that is entitled to priority under 11 U.S.C. §507(a).
                                                                     Unsecured claim: A claim that does not meet the
These claims are paid from the available money or
                                                                     requirements of a secured claim. A claim may be unsecured in
property in a bankruptcy case before other unsecured
                                                                     part to the extent that the amount of the claim is more than the
claims are paid. Common priority unsecured claims
                                                                     value of the property on which a creditor has a lien.
include alimony, child support, taxes, and certain unpaid
wages.

                                                                     Offers to purchase a claim
Proof of claim: A form that shows the amount of debt the
debtor owed to a creditor on the date of the bankruptcy filing.      Certain entities purchase claims for an amount that is less than
The form must be filed in the district where the case is             the face value of the claims. These entities may contact
pending.                                                             creditors offering to purchase their claims. Some written
                                                                     communications from these entities may easily be confused
                                                                     with official court documentation or communications from the
Alter Ego Claims: If you assert a claim against Ho Wan
                                                                     debtor. These entities do not represent the bankruptcy court,
Kwok, you may also assert a claim against Genever Holdings
                                                                     the bankruptcy trustee, or the debtor. A creditor has no
Corporation and Genever Holdings LLC (the "Genever
                                                                     obligation to sell its claim. However, if a creditor decides to
Debtors") on the basis that these entities are alter egos of Ho
                                                                     sell its claim, any transfer of that claim is subject to
Wan Kwok by checking the applicable box on the proof of
                                                                     Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
claim form. The Trustee and the Genever Debtors reserve all
                                                                     Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
rights in regard to any such alter ego claims, including on the
                                                                     the bankruptcy court that apply.
basis that the Trustee is the only party entitled to assert that
the Genever Debtors are or were alter egos of the Individual
Debtor.


Do not file these instructions with your form.
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                                   Annex III

                               Publication Notice
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                                                UNITED STATES BANKRUPTCY COURT
                                                       DISTRICT OF CONNECTICUT
                                                           BRIDGEPORT DIVISION
---------------------------------------------------------------------------------X
                                                                                 :
In re:                                                                           : Chapter 11
           Ho Wan Kwok, et al.                                                   : Case No. 22-50073 (JAM)
                                    Debtor.1                                     : (Jointly Administered)
Debtors.1
----------------------------------------------------------------------------------X

                                    NOTICE OF BAR DATES FOR FILING PROOFS OF CLAIM



PLEASE TAKE NOTICE THAT:

On February 15, 2022 (the “Individual Debtor Petition Date”), Mr. Ho Wan Kwok (the “Individual Debtor”) filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of Connecticut (the “Connecticut Bankruptcy Court”). On July 8, 2022, the Connecticut
Bankruptcy Court entered an order granting the appointment of Luc A. Despins as the chapter 11 trustee (the “Trustee”) in the
Individual Debtor’s chapter 11 case (the “Chapter 11 Case”).



On AugustOctober 12, 2020 (the “Genever (US) Petition Date”), Genever Holdings LLC (“Genever (US)”) filed its chapter 11
petition in the United States Bankruptcy Court for the Southern District of New York (the “New York Bankruptcy Court”). On
November 3, 2022, the New York Bankruptcy Court entered an order transferring Genever (US)’s chapter 11 case to the
Connecticut Bankruptcy Court. Genever (US)’s only scheduled assets are a residence at the Sherry Netherland Hotel in New
York, New York, and a related security deposit for a total scheduled value of approximately $73 million.2

On October 11, 2022 (the “Genever (BVI) Petition Date” and, together with the Genever (US) Petition Date and the Individual
Debtor Petition Date, the “Petition Dates”), Genever Holdings Corporation (“Genever (BVI)” and, together with the Individual
Debtor and Genever (US), the “Debtors”) filed its chapter 11 petition in the Connecticut Bankruptcy Court. Genever (BVI)
wholly owns Genever (US).

On November [__], 2022, the Connecticut Bankruptcy Court entered an order (the “Bar Date Order”) establishing October 28,
2022the following deadlines to file proofs of claim against the Debtors in their chapter 11 cases (the “Chapter 11 Cases”):3

     1.   Prepetition Claims Against Individual Debtor: The last date and time for all persons and entities (including, without
          limitation, individuals, partnerships, corporations, joint ventures, trusts, and governmental units) to file a proof of
          claim (a “Proof of Claim”) in respect of any claim (as defined in the Bankruptcy Code) arising prior to the Individual
          Debtor Petition Date (i.e., February 15, 2022) against the Individual Debtor is January 13, 2023 at 11:59 p.m. (ET)
          (the “General Bar Date”) as the.

     2.   Prepetition Claims Against Genever (US): The last date and time for each person or entity (each all persons and
          entities (including, without limitation, individuals, partnerships, corporations, joint ventures, trusts, and governmental
          units) to file a Proof of Claim in respect of any claim (as defined in the Bankruptcy Code), including arising prior to
          the Genever (US) Petition Date (i.e., October 12, 2020) against Genever (US) is January 13, 2023 at 11:59 p.m.
          (ET), i.e., the General Bar Date.

     3.   Prepetition Claims Against Genever (BVI):

1
     Although the Debtor’s legal name is Ho Wan Kwok, he is also known by the following names: Guo Wengui; Miles Guo; and Miles Kwok.
1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles Kwok, as well as numerous other aliases) (last
  four digits of tax identification number: 9595), Genever Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings
  Corporation. The mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul Hastings LLP, 200 Park Avenue,
  New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok (solely for purposes of notices and communications).
2
     This amount does not reflect the fair market value of the Sherry Netherland apartment.
3
     The Connecticut Bankruptcy Court, upon motion by a creditor, may extend the time for filing Proofs of Claim after the applicable Bar Date to permit the
  filing of a late Proof of Claim.
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                   a.    The last date and time for all persons and entities (including, without limitation, individuals, partnerships,
                         corporations, and joint ventures) other than governmental units to file a Proof of Claim in respect of any
                         claim (as defined in the Bankruptcy Code) arising prior to file a proof of claim (each, a “Proof of Claim,” and
                         collectively, the “Proofs of Claim”) in respect of any prepetition claim (as defined in the Bankruptcy Code)
                         against the Debtor in the Chapter 11 Case.2 the Genever (BVI) Petition Date (i.e., October 10, 2022) against
                         Genever (BVI) is January 13, 2023 at 11:59 p.m. (ET), i.e., the General Bar Date.

                   b.    The last date and time for all governmental units to file a Proof of Claim in respect of any claim (as defined
                         in the Bankruptcy Code) arising prior to the Genever (BVI) Petition Date (i.e., October 10, 2022) against
                         Genever (BVI) is April 10, 2023 at 11:59 p.m. (ET) (the “Governmental/Genever (BVI) Bar Date” and,
                         together with the General Bar Date, the “Bar Dates”).

On the Proof of Claim form, holders of claims against the Individual Debtor may elect to also assert their claim against
Genever (BVI) and Genever (US) (the “Genever Debtors”) on the basis that the Genever Debtors are or were alter egos of the
Individual Debtor. If the Genever Debtors are or were alter egos of the Individual Debtor, then a creditor of the Individual
Debtor would also be a creditor of the Genever Debtors, despite the absence of a direct contractual or other relationship
between the creditor and the Genever Debtors. To be clear, if you hold a claim against the Genever Debtors based on a direct
contractual or other relationship between the creditor and the Genever Debtors (i.e., in addition to a claim based on alter ego),
you must file a separate Proof of Claim against Genever (BVI) and/or Genever (US), as applicable.

The Trustee, Genever (BVI), and Genever (US) reserve all their rights to object to any claims based on an alter ego theory,
including on the basis that the Trustee is the only party entitled to assert that Genever (BVI) and Genever (US) are or were
alter egos of the Individual Debtor.

Copies of the Proof of Claim form may be viewed and downloaded free of charge on the Bankruptcy Court’s website located at
www.uscourts.gov/forms/bankruptcy-forms. Copies of the Bar Date Order may be obtained upon written request to [proposed]
counsel for the Trustee at douglassbarron@paulhastings.com.

All Proofs of Claim must be filed so as to be received on or before the General Bar Date by the Connecticut Bankruptcy Court
at the following address:

                         US Bankruptcy Court
                         District of Connecticut
                         Brien McMahon Federal Building
                         915 Lafayette Boulevard
                         Bridgeport, CT 06604

All Proofs of Claim will be deemed filed only when actually received at the address listed above on or before the
Generalapplicable Bar Date. Alternatively, Proofs of Claim may be submitted electronically with the Connecticut Bankruptcy
Court through the Connecticut Bankruptcy Court’s website at http://www.ctb.uscourts.gov. Proofs of claim sent by fax or
email will not be accepted.

To be properly filed, each Proof of Claim must: (i) be written in the English language; (ii) be denominated in the lawful
currency of the United States as of the applicable Petition Date (using the exchange rate, if applicable, as of the applicable
Petition Date); (iii) conform substantially to the form of Proof of Claim attached to the Bar Date Order or the Official
Bankruptcy Form 410; and (iv) be signed by the claimant or, if the claimant is not an individual, by an authorized agent of the
claimant.

Pursuant to Bankruptcy Rule 3003(c)(2), any holder of a claim who fails to timely file a Proof of Claim as provided herein
shall (a) be forever barred, estopped, and enjoined from asserting such claims against the Debtor, his property, or this estate (or
from submitting a Proof of Claim with respect thereto) and (b) not be treated as a creditor with respect to such claim for the
purposes of voting and distribution with respect to any chapter 11 plan or plans of reorganization that may be filed in thisthe
Chapter 11 CaseCases.

If you require additional information regarding this Notice, you may contact the Trustee’s [proposed] counsel at
1-212-318-6690 or submit an inquiry via e-mail to douglassbarron@paulhastings.com. If you believe that you hold a claim
against the DebtorDebtors, you should consult an attorney if you have any questions regarding this Notice, including
2
      The Bankruptcy Court, upon motion by a creditor, may extend the time for filing Proofs of Claim after the General Bar Date to permit the filing of a late
    Proof of Claim.
                                                                                  2
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whether you should file a Proof of Claim.




                                                        3
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                                     Annex IV

                              Local Rule 3003-1 Notice
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        NOTICE OF DISPUTED, CONTINGENT, OR UNLIQUIDATED CLAIM
          AND NOTICE OF DEADLINE FOR FILING PROOF OF CLAIM

To:   Claimant(s) Address(es)

      Debtor: [Ho Wan Kowk] Scheduled Claim Amount(s): $                   _ Claim(s) Scheduled as:
      [disputed, contingent, or unliquidated, as applicable]

      [Note: All Claimants should be listed
      here, or an exhibit may be used to list
      each claimant, with their respective
      address and the amount of the claim
      scheduledDebtor: [Genever Holdings
      Corporation] Scheduled Claim
      Amount(s): $
      Claim(s) Scheduled as: [disputed, contingent, or unliquidated, as applicable]

      Debtor: [Genever Holdings LLC]
      Scheduled Claim Amount(s): $
      Claim(s) Scheduled as : [disputed, contingent, or unliquidated, as applicable]

1.    The DebtorDebtors (i.e., Ho Wan Kwok, Genever Holdings Corporation, and Genever
      Holdings LLC) scheduled your claim as indicated above.             Any creditor (including
      governmental units) whose claim is scheduled as disputed, contingent, or unliquidated in
      the DebtorDebtors's Schedules filed on March 9, 2022022 (ECF No. 78 in Case No.
      22-50073 (JAM)),                               , 2022 (ECF No. _ in Case No. 22-50542
      (JAM)), and/or November 3, 2020 (ECF No. 4 in Case No. 22-50592 (JAM))
      (collectively, the Amended "Schedules filed on                         , 202 (ECF No. _"),
      must file a proof of claim by                  , 202 January 13, 2023, except that claims by
      governmental units against Genever Holdings Corporation may be filed until April 10,
      2023. Pursuant to Federal Rule of Bankruptcy Procedure 3003(c)(2), any creditor required
      to file a proof of claim who fails to do so shall not be treated as a creditor with respect to
      such a claim for the purposes of voting on the Debtor’s PlanDebtors' plan and for
      distributions to creditors.

2.    Creditors who have already filed claims need not file them again.

3.    A proof of claim form is enclosed with this notice.

4.    Counsel to the DebtorTrustee, counsel to Genever Holdings Corporation, and/or counsel
      to Genever Holdings LLC shall file this completed notice listing all those creditors whose
      claim was not scheduled or whose claim was scheduled as disputed, contingent, or
      unliquidated in the Schedules and Amended Schedules (ECF Nos._) on or before                 ,
      202 seven business days after entry of the bar date order (ECF No. _) (the "Bar Date
      Order"). Counsel to the Debtor shall also serve this notice on all affected parties by First
      Class Mail, postage prepaid on or before , 202 seven (7) business days after entry of the
      Bar Date Order. Counsel to the Debtor shall file a Certificate of Service indicating such
      compliance on or before     , 202 fourteen (14) business days after entry of the Bar Date
      Order.
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